                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

In re:

Ark Laboratory, LLC                                    Case No. 23-43403-MLO
                                                       Chapter 11
     Debtor.                                           Hon. Maria L. Oxholm
_______________________/



                COMBINED DISCLOSURE STATEMENT
         AND PLAN OF LIQUIDATION OF ARK LABORATORY, LLC




IMPORTANT!     THIS DISCLOSURE STATEMENT CONTAINS
INFORMATION THAT MAY BEAR UPON YOUR DECISION TO
ACCEPT OR REJECT ARK LABORATORY, LLC’s JOINT PROPOSED
PLAN OF LIQUIDATION. THUS, PLEASE READ THIS DOCUMENT
WITH CARE.




                                           1
 23-43403-mlo   Doc 249   Filed 09/19/23       Entered 09/19/23 00:19:30   Page 1 of 79
       NOW COMES, Ark Laboratory, LLC (the “Debtor”), through counsel, and
states as follows:


                           INTRODUCTION TO PLAN

      Pursuant to title 11 of the United States Code, 11 U.S.C. §§ 101 et seq., the
Debtor proposes the following Plan pursuant to Chapter 11 of the Bankruptcy
Code.

       The Plan is a liquidating plan. Debtor filed a motion to sell substantially all
of its assets in a Bankruptcy Court approved Sale. The Plan provides for the
distribution of certain proceeds from the Sale and the creation of a Liquidating
Trust that will administer all remaining property of the Debtor, including the
Avoidance Actions and the Covid Testing Claims. If the Sale has not been
consummated prior to the Effective Date, the Sale may occur and be consummated
by the Liquidating Trustee, after consultation with Auxo. The Plan provides that
the Committee shall be reconstituted on the Effective Date as the
Post-Confirmation Committee.

                          ARTICLE I
          DEFINED TERMS AND RULES OF INTERPRETATION

A.           Rules of Interpretation

       1.     For purposes herein: (a) in the appropriate context, each term,
whether stated in the singular or the plural, shall include both the singular and the
plural, and pronouns stated in masculine, feminine or neuter gender shall include
the masculine, feminine, and the neuter gender; (b) any reference herein to a
contract, instrument, release, or other agreement or document being in a particular
form or on particular terms and conditions means that the referenced document
shall be substantially in that form or substantially on those terms and conditions;
(c) any reference herein to an existing document or exhibit having been filed or to
be filed shall mean that document or exhibit, as it may thereafter be amended,
modified or supplemented; (d) unless otherwise specified, all references herein to
“Articles” are references to Articles hereof or hereto; (e) the words “herein,”
“hereof” and “hereto” refer to the Plan in its entirety rather than to a particular
portion of the Plan; (f) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be part of or to affect the
                                            2


23-43403-mlo     Doc 249   Filed 09/19/23       Entered 09/19/23 00:19:30   Page 2 of 79
interpretation hereof; (g) the rules of construction set forth in section 103 of the
Bankruptcy Code shall apply; and (h) any term used in capitalized form herein
that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy
Code or the Bankruptcy Rules, as the case may be.

B.           Defined Terms

       Unless the context otherwise requires, the following terms shall have the
following meanings when used in capitalized form herein:

       1.     “Accrued Professional Compensation” means, at any given moment,
all accrued and/or unpaid fees and expenses (including, but not limited to, fees or
expenses allowed or awarded by a Final Order of the Bankruptcy Court or any
other court of competent jurisdiction) for legal, financial advisory, accounting and
other services and reimbursement of expenses that are awardable and allowable
under, inter alia, sections 328, 330(a), or 331 of the Bankruptcy Code or otherwise
rendered prior to the Effective Date by all Retained Professionals in the Chapter
11 Case that the Bankruptcy Court has not denied by a Final Order, to the extent
that any such fees and expenses have not been previously paid regardless of
whether a fee application has been filed for any such amount. To the extent that
the Bankruptcy Court or any higher court denies by a Final Order any amount of a
Retained Professional’s fees or expenses, then those amounts shall be turned over
to the Liquidating Trustee for payment of professional fees incurred by the
Liquidating Trustee in administering the Liquidating Trust.

       2.     “Administrative Claims” means Claims or rights to payment as an
administrative expense that have been timely filed, pursuant to the deadline and
procedure set forth in the Plan (except as otherwise provided by a separate order
of the Bankruptcy Court), for costs and expenses of administration under sections
503(b) or 507(b) of the Bankruptcy Code, including, but not limited to: (a) the
actual and necessary costs and expenses incurred after the Petition Date of
preserving the Estate and operating the business of the Debtor (such as wages,
salaries, or commissions for services and payments for goods and other services
and leased premises); (b) Accrued Professional Compensation; and (c) all fees and
charges assessed against the Estates under chapter 123 of title 28 United States
Code, 28 U.S.C. §§ 1911-1930. For purposes of clarification, administrative
expenses are Administrative Claims for purposes of the Plan.

                                            3


23-43403-mlo    Doc 249    Filed 09/19/23       Entered 09/19/23 00:19:30   Page 3 of 79
       3.    “Administrative Claims Bar Date” is a date to be set by the Court
pursuant to a motion to be filed by Debtor which will propose that the deadline to
file motions for the payment of administrative expenses be forty-five (45) days
from entry of an order by the Court establishing a deadline for filing a motion for
allowance of an Administrative Claim arising on or before the Administrative
Claims Bar Date. For claims arising after the Administrative Claims Bar Date and
prior to confirmation, the Administrative Claims Bar Date for such administrative
expenses shall be thirty (30) days after the Effective Date, subject to a motion filed
with the Bankruptcy Court and served on the Liquidating Trustee.

       4.    “Allowed” means, with respect to any Claim (including
Administrative Claim) or Equity Interest, except as otherwise provided herein: (a)
a Claim or Equity Interest that has been scheduled by the Debtor in the Schedules
as other than Disputed as to which the Debtor or other party in interest has not
filed an objection by the applicable bar date established under the Plan or the
Liquidating Trust; (b) a Claim or Equity Interest that either is not Disputed or has
been Allowed by a Final Order; (c) a Claim or Equity Interest that is Allowed: (i)
in any stipulation and order approved by the Bankruptcy Court, or (ii) in any
stipulation with the Liquidating Trustee executed on or after the entry of a Final
Confirmation Order; (d) a Claim or Equity Interest that is allowed pursuant to the
terms hereof; or (e) a Disputed Claim as to which a proof of Claim or request for
allowance has been timely filed and as to which no objection has been timely
filed.

      5.   “Allowed Amount” means the agreed upon or adjudicated amount of
an Allowed Claim.

       6.     “Auxo” means Auxo Investment Partners, LLC, as successor in
interest to Comerica and Peninsula.

      7.    “Avoidance Actions” means any and all avoidance, recovery,
subordination or other actions or remedies that may be brought on behalf of the
Debtor or their estates under the Bankruptcy Code or applicable non-bankruptcy
law, including, without limitation, actions or remedies under sections 510,
542-553 of the Bankruptcy Code.

      8.     “Bankruptcy Court” means the United States Bankruptcy Court for
the Eastern District of Michigan, Southern Division.


                                            4


23-43403-mlo     Doc 249   Filed 09/19/23       Entered 09/19/23 00:19:30   Page 4 of 79
      9.     “Bankruptcy Rules” or “Rules” means the Federal Rules of
Bankruptcy Procedure, and any amendments thereto. To the extent applicable,
Bankruptcy Rules also refers to the Local Rules of the U.S. District Court for the
Eastern District of Michigan, as amended and the Local Bankruptcy Rules for the
Eastern District of Michigan, as amended.

       10. “Beneficiary” or “Beneficiaries” or “Liquidating Trust Beneficiary or
“Liquidating Trust Beneficiaries” mean(s) the holder of an Allowed Claim or
Interest that receives a beneficial interest in the Liquidating Trust in accordance
with the Plan.

       11. “Business Day” means any day, other than a Saturday, Sunday or
“legal holiday” (as that term is defined in Fed.R.Bankr.P. 9006(a)).

        12. “Carveouts” means that amount Auxo has agreed to carve out from
its collateral pursuant to orders of the Court for the payment of (i) Accrued
Professional Compensation, (ii) United States Trustee Fees, (iii) Allowed
Administrative Expenses that have not been paid prior to the Effective Date, (iv)
Allowed Priority Claims that have not otherwise been paid prior to the Effective
Date, and (iv) the cost of an E&O Insurance Policy for the Liquidating Trustee.

       13. “Cash” means legal tender of the United States of America or the
equivalent thereof.

       14. “Causes of Action” means all claims, actions, causes of action,
choses in action, suits, debts, dues, sums of money, accounts, reckonings, bonds,
bills, specialties, covenants, contracts, controversies, agreements, promises,
variances, trespasses, damages, judgments, remedies, rights of set-off, third-party
claims, subrogation claims, contribution claims, reimbursement claims, indemnity
claims, counterclaims, and cross claims, including, but not limited to, all claims
and any avoidance, recovery, subordination or other actions against insiders and/or
any other entities under the Bankruptcy Code, including Avoidance Actions and
those actions set forth on Exhibit B to this Plan, in the Plan Supplement or that
may be pending on the Confirmation Date, assigned to Liquidating Trustee on the
Confirmation Date, or instituted by the Liquidating Trustee after the Confirmation
Date against any entity, based in law or equity, including, but not limited to, under
the Bankruptcy Code, whether direct, indirect, derivative, or otherwise and
whether asserted or unasserted as of the date of entry of the Confirmation Order.


                                            5


23-43403-mlo    Doc 249    Filed 09/19/23       Entered 09/19/23 00:19:30   Page 5 of 79
       15. “Chapter 11 Case” means the case commenced when the Debtor filed
its voluntary petition for relief under chapter 11 of the Bankruptcy Code on the
Petition Date, under Case Number 23-43403.

      16.    “Claim” means a “claim” (as that term is defined in section 101(5) of
the Bankruptcy Code) against the Debtor, and administrative expenses.

      17.      “Claims Objection Bar Date” means the bar date for objecting to
proofs of Claim or administrative expense Claims. The bar date for objecting to
prepetition claims shall be nine (9) months days after the Effective Date; provided,
however, that the Liquidating Trustee may seek extensions of this date from the
Bankruptcy Court. Administrative Claims have a different bar date as set forth
herein.

       18. “Class” means a class of holders of Claims or Interests described in
Article III of this Plan.

        19.   “CMS” means Centers for Medicare and Medicaid Services.

        20.   “Comerica” means Comerica Bank, N.A.

      21. “Committee” means the Official Committee of Unsecured Creditors
that was appointed by the U.S. Trustee pursuant to section 1102(a)(1) of the
Bankruptcy Code in this Chapter 11 Case.

       22.    “Confirmation Date” means the date that the Confirmation Order is
entered.

        23.   “Confirmation Hearing” means the hearing on the confirmation of the
Plan.

      24. “Confirmation Order” means the order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

       25. “Covid Testing Claims” means those outstanding Covid-19 testing
claims with each of the Debtor’s health insurance providers and governmental
entities that are being pursued by Special Counsel.

       26. “Credit Bid” means the $2,000,000 amount bid for substantially all of
the assets pursuant to the Sale Motion, as modified.
                                            6


23-43403-mlo     Doc 249   Filed 09/19/23       Entered 09/19/23 00:19:30   Page 6 of 79
      27.   “Debtor” means Ark Laboratory, LLC.

       28. “Disputed” means, with respect to any Claim or Equity Interest, any
Claim or Equity Interest: (a) listed on the Schedules as unliquidated, disputed or
contingent: (b) as to which Debtor or another party in interest has interposed a
timely objection or request for estimation in accordance with the Bankruptcy Code
and the Bankruptcy Rules; or (c) as otherwise disputed by Debtor or a party in
interest in accordance with applicable law, which objection, request for estimation
or dispute has not been withdrawn or determined by a Final Order.

       29. “Distribution” means any distribution pursuant to the Plan and the
Liquidating Trust to the holders of Allowed Claims or pursuant to Bankruptcy
Court Order.

      30. “Distribution Amount” means the amount of a distribution made to
holders of Allowed Claims entitled to receive Distributions in accordance with the
terms and provisions of this Plan and the Liquidating Trust Agreement

      31. “Distribution Date” means the date upon which a Distribution is
made by the Liquidating Trustee in accordance with the Plan to holders of
Allowed Claims entitled to receive Distributions under the Plan or under the
Liquidating Trust Agreement.

      32. “Distribution Reserve” means those accounts that may be established
by the Liquidating Trustee with sufficient income to pay holders of Disputed
Claims if such Disputed Claims become Allowed Claims.

     33. “Distribution Schedule” means the payments set forth in ARTICLE II
TREATMENT OF CLAIMANTS NOT SUBJECT TO CLASSIFICATION OR
OTHERWISE NOT REQUIRED TO VOTE FOR OR AGAINST THE PLAN,
and ARTICLE III, SPECIFICATION OF TREATMENT OF CLASSES OF
CLAIMS OR INTERESTS NOT IMPAIRED UNDER PLAN AND THOSE
IMPAIRED UNDER THE PLAN of the Plan.

      34. “Effective Date” means the first date that is a Business Day after the
Confirmation Order becomes a Final Order.

     35. “Entity” includes any and all persons as defined in 11 U.S.C §
101(15), estates, trusts, governmental units, and the United States Trustee.

                                           7


23-43403-mlo    Doc 249   Filed 09/19/23       Entered 09/19/23 00:19:30   Page 7 of 79
       36. “Equity Interest” or “Interest” mean(s) any equity interest in a Debtor
that existed immediately prior to the Petition Date, including, but not limited to:
(a) any common equity interest in a Debtor that existed immediately prior to the
Petition Date, including, but not limited to, all issued, unissued, authorized or
outstanding shares of common stock, together with any warrants, options or legal
contractual or equitable rights to purchase or acquire such interests at any time;
and (b) any preferred equity interest in a Debtor that existed immediately prior to
the Petition Date, including, but not limited to, all issued, unissued, authorized or
outstanding shares of preferred stock, together with any warrants, options or legal,
contractual or equitable rights to purchase or acquire such interests.

       37. “Estate” means the estate of the Debtor created on the Petition Date
by, inter alia, section 541 of the Bankruptcy Code.

       38. “Final Order” means an order or judgment of the Bankruptcy Court,
or other court of competent jurisdiction with respect to the subject matter, which
has not been reversed, stayed, modified or amended, as to which the time to
appeal, petition for certiorari or move for reargument or rehearing has expired and
no appeal or petition for certiorari has been timely taken, or as to which any
appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment was
appealed or from which certiorari was sought or has otherwise been dismissed
with prejudice.

       39. “Grossi” means Jim Grossi, the principal and sole member of the
Debtor and the person authorized to perform the duties of the debtor in possession
during the Chapter 11 Case.

       40.     “Initial Distribution Date” means the first Distribution Date
following the Effective Date, as set by the Liquidating Trustee.

       41.   “IRS” means the Internal Revenue Service.

       42. “IRS Claim” means that proof of Claim [Claim No. 17-1] filed by the
Internal Revenue Service asserting, inter alia, a Priority Tax in the amount of $2.0
million or any amended proof of Claim filed by the Internal Revenue Service.

     43. “Lien” means a charge against, or an interest in property to secure
payment of a debt or performance of an obligation.

                                            8


23-43403-mlo    Doc 249    Filed 09/19/23       Entered 09/19/23 00:19:30   Page 8 of 79
      44.     “Liquidating Trust” means the trust created pursuant to the
Liquidating Trust Agreement which will be part of the Plan Supplement.

      45. “Liquidating Trust Agreement” means that agreement approved
under the Plan through entry of the Confirmation Order by which the Liquidating
Trustee is appointed to administer the Liquidating Trust.

      46. “Liquidating Trustee” means Paul R. Hage, the Liquidating Trustee
under the Liquidating Trust, who is being appointed pursuant to this Plan or any
Successor Trustee as defined by and provided for under the Liquidating Trust
Agreement.

     47.   “Other Priority Claims” means Claims accorded priority in right of
payment under section 507(a) of the Bankruptcy Code, other than Priority Tax
Claims.

      48.   “Peninsula” means The Peninsula Fund VII Limited Partnership,

      49.   “Petition Date” means April 12, 2023.

      50. “Plan” means this plan of liquidation, either in its present form or as
it may be altered, amended, modified or supplemented from time to time in
accordance with the Bankruptcy Code, the Bankruptcy Rules or herewith, as the
case may be, and the Plan Supplement (if any), which is incorporated herein by
reference.

       51. “Plan Supplement” includes the compilation of documents and forms
of documents, schedules and exhibits to be filed prior to the hearing at which the
Bankruptcy Court considers whether to confirm the Plan, comprising of, without
limitation, the following documents: (a) the Liquidating Trust Agreement; (b) the
list of preserved Causes of Action; and (c) the list of executory contracts to be
assumed.

       52. “Post-Confirmation Committee” means the reconstituted Committee
that is willing to serve after the Confirmation Date to advise and to consult with
the Liquidating Trustee.

      53. “Priority Tax Claims” means Claims of governmental units of the
kind specified in section 507(a)(8) of the Bankruptcy Code.

                                           9


23-43403-mlo    Doc 249   Filed 09/19/23       Entered 09/19/23 00:19:30   Page 9 of 79
      54.     “Priority Claim” means a Claim under or entitled to priority under
section 507(a) of the Bankruptcy Code.

     55.   “Priority Creditor” means a Creditor who asserts a Priority claim.

       56. “Professional Fee Escrow Account” means that account established by
the Debtor under the Final Cash Collateral Order [ECF No. 144] and First
Amended Cash Collateral Order [ECF No. ___] in the aggregate amount of
$600,000 for the payment of Accrued Professional Compensation to the Retained
Professionals, with $350,000 being allocated to the Committee Retained
Professionals and $250,000 being allocated to the Debtor Retained Professionals,
fifty percent (50%) of which shall be funded by Auxo by September 28, 2023 and
fifty percent (50%) of which shall be funded by Auxo by December 1, 2023. To
the extent that any amounts remain in the Professional Fee Escrow Account after
all Accrued Professional Compensation is approved by Final Order of the
Bankruptcy Court, such remaining amounts shall be transferred to the Liquidating
Trustee for payment of professional fees and expenses incurred by the Liquidating
Trustee and his professionals in administering the Liquidating Trust, including the
prosecution of Causes of Action assigned to the Liquidating Trust.

     57. “Qui Tam Complaint” means that complaint filed by the United States
of America against the Debtor and Grossi, alleging violations under the False
Claims Act, 31 U.S.C. §§ 3729 et seq., the Anti-Kickback Statute, 42 U.S.C. §
1320a-7b, and the Michigan Medicaid False Claims Act, MCL 400.601 et seq.

       58. “Remaining Assets” means those assets of the Estate that are not
transferred by the Sale, and, thus, ownership of which shall be vested in the
Liquidating Trust on the Effective Date.

       59. “Representatives” means with regard to an Entity, its officers,
directors, employees, advisors, attorneys, professionals, including Retained
Professionals, accountants, investment bankers, financial advisors, consultants,
agents and other representatives (including their respective officers, directors,
employees, agents, members and professionals).

       60. “Retained Professional” means a person or entity employed in the
Chapter 11 Case pursuant to a Final Order in accordance with sections 327 and
1103 of the Bankruptcy Code, to be compensated for services rendered prior to the
Effective Date, pursuant to sections 327-331 of the Bankruptcy Code.

                                           10


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 10 of 79
      61. “Sale” means the Debtor’s Motion to Approve (I) Bidding Procedures
and Form of Asset Purchase Agreement Relating to Sale of Substantially All of the
Debtor’s Assets; (2) The Sale of Substantially All of the Debtor’s Assets Free and
Clear of Liens, Claims, Interests and Encumbrances Pursuant to 11 U.S.C. §§
105(A) and 363; (3) Assumption and Assignment of Executory Contracts and
Unexpired Leases Pursuant to 11 U.S.C. § 365; and (4) Granting Related Relief
[ECF No. 145].

      62. “Schedules” means the schedules of assets and liabilities, schedules of
executory contracts and statements of financial affairs filed by the Debtor in the
Chapter 11 Case, as may be amended from time to time.

       63. “Secured Claim of Auxo” means the Allowed Claim of Auxo (as
reflected in the proofs of Claim filed by Comerica and Peninsula, plus such
amounts advanced by Auxo to provide funding to the Debtor during the Chapter 11
Case, less the Credit Bid.

      64. “Secured Claims” means: (a) Claims that are secured by a lien on
property in which the Estate has an interest, to the extent of the value of the Claim
holder’s interest in the Estate’s interest in such property, which liens are valid,
perfected and enforceable under applicable law or by reason of a Final Order, as
determined pursuant to the Bankruptcy Code, including Allowed Setoff and
Recoupment Claims, and (b) Claims which are Allowed under the Plan as a
Secured Claim.

      65.     “Setoff and Recoupment Claims” means Allowed Claims that are (a)
subject to setoff under section 553 of the Bankruptcy Code, and (b) recoupment
claims arising under contracts with the Debtor arising before the Effective Date.

     66. “Special Counsel” means Amy Thomas, Esq. and Only One Hub d/b/a
Primus Health, appointed by the Court.

      67.    “USA” means the United States of America.

      68.    “U.S. Trustee” means Office of the United States Trustee.

      69. “U.S. Trustee Fees” means those statutory fees owed to the U.S.
Trustee under 28 U.S.C. § 1930(a)(6).


                                           11


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 11 of 79
     70. “Unsecured Claim” means a Claim that is not a Secured Claim, an
Administrative Claim nor a Priority Claim.

     71.     “Unsecured Creditor” shall mean any Creditor that holds an Unsecured
Claim.

                           ARTICLE II
            TREATMENT OF CLAIMANTS NOT SUBJECT TO
           CLASSIFICATION OR OTHERWISE NOT REQUIRED
                TO VOTE FOR OR AGAINST THE PLAN

       For the purposes of approval and implementation of this Plan and the
resultant liquidation of the Debtor, Administrative Creditors and Priority Creditors
shall be paid on account of their respective Administrative and Priority Claims in
accordance with the provisions set forth below.

               2.1 ADMINISTRATIVE EXPENSES. It is estimated that there
are approximately $1,170,477 in unpaid Administrative Claims that have been
asserted against the Debtor’s estate, exclusive of United States quarterly fees and
Accrued Professional Compensation. Unless paid prior to the Effective Date, the
Allowed Administrative Claims shall be paid the full amount of their Allowed
Claims, on such date as may be mutually agreed upon between Liquidating Trustee
and the holder of the Administrative Claim, or, if no such date is agreed upon, the
latest of (i) thirty (30) days after the Effective Date, (ii) the date by which payment
would be due in the ordinary course of business between Debtor and the holder of
such Administrative Claim, (iii) the date on which the Bankruptcy Court enters its
order, if necessary, approving Debtor’s payment of such Allowed Administrative
Claim, or (iv) by the Liquidating Trustee upon entry of an order approving the
allowance and payment of such Administrative Claim. The amounts owed to the
United States Trustee prior to the Effective Date shall be paid as they come due,
but in no event, no later than thirty (30) days after the Effective Date, and sufficient
monies shall be escrowed by the Liquidating Trustee for the payment of such
amounts that come due after the Effective Date.

      The Administrative Expenses shall also include the Accrued Professional
Compensation that shall be paid from the Professional Fee Escrow Account upon
the entry of a Final Order approving the Accrued Professional Compensation. If
there are insufficient funds in the Professional Fee Escrow Account to pay the

                                            12


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 12 of 79
Allowed amount of the Accrued Professional Compensation, then the remaining
Allowed amount shall be paid from the proceeds of the Causes of Action.

       2.2 PRIORITY CLAIMS. Priority Creditors entitled to receive priority
for their Allowed Claim under section 507(a) of the Bankruptcy Code shall be paid
upon the later of thirty (30) days after the Effective Date or when such claims are
Allowed.

                             ARTICLE III
                   SPECIFICATION OF TREATMENT OF
                   CLASSES OF CLAIMS OR INTERESTS

      The Plan divides Claims and Interests into Classes and treats them as
follows, all of which are impaired unless noted:


Class            Claimant                  Treatment for Claims in this Class
Class 1           Auxo                     This Class shall be paid the amount of its
                                           Secured Claim, less any credit bid that it
                                           made pursuant to the Sale if
                                           consummated, plus any amounts advanced
                                           by it during the Chapter 11 Case to fund
                                           administrative expenses, to be paid
                                           pursuant to the priority provisions of the
                                           Bankruptcy Code, less the Carveouts.
                                           Auxo shall retain its Lien until it has been
                                           paid in full. Auxo has a first priority Lien
                                           on all assets of the Debtor, prepetition and
                                           postpetition, other than the Causes of
                                           Action.
                                           This Class is impaired.
Class 4          LABarrington              LABarrington has asserted a security
                                           interest in the following equipment: One
                                           (1) UN-3000N Automated Urinalysis
                                           System. Debtor will surrender its interest
                                           in this equipment to LABarrington in full
                                           satisfaction of its Claim.
                                           13


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 13 of 79
                                          This Class is impaired.
Class 5         Team Financial            Team Financial Group has asserted a
                Group                     security interest in the equipment listed in
                                          proofs of claim #60-#71. Debtor will
                                          surrender its interest in this equipment to
                                          Team Financial Group in full satisfaction
                                          of its Claim.
                                          This Class is impaired.
Class 6         Unsecured Claims          This Class shall be paid pro rata pursuant
                                          to the priority of payment as set forth in
                                          the Bankruptcy Code to the extent of
                                          available funds.
                                          This Class is impaired.
Class 7         Class of United           This Class has asserted potential
                States of America         offset and recoupment rights
                                          regarding the IRS Claim and the Qui
                                          Tam Complaint. The Plan preserves
                                          the rights, if any, of the United States
                                          of America to offset and recoupment.
                                          Debtor does not stipulate that any
                                          such rights exist; provided, however,
                                          this Class shall have the right to
                                          offset on the Effective Date $5,000
                                          against funds it held on the Petition
                                          Date and on which it implemented an
                                          administrative freeze in the amount
                                          of     $180,494,        attributed    to
                                          overpayment of claims submitted by
                                          the Debtor prior to the Petition Date
                                          under the as a Medicare Part B
                                          provider, pursuant to the provisions,
                                          regulations, policies, and procedures
                                          promulgated under Title XVIII of the
                                          Social Security Act, 42 U.S.C. §§
                                          1395 et. seq. (collectively, the
                                          “Medicare Statute”), administered by

                                          14


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30    Page 14 of 79
                                           the Centers for Medicare and
                                           Medicaid Services (“CMS”), a
                                           component of the United States
                                           Department of Health and Human
                                           Services.

                                           This Class is impaired.
Class 8          Class of Equity           This Class shall retain its Interest and
                 Security Holders          shall be paid pro rata consistent with the
                                           priority of payment as set forth in the
                                           Bankruptcy Code to the extent of
                                           available funds, subject to any recoveries
                                           from Causes of Action brought by the
                                           Committee or the Liquidating Trustee
                                           under the Plan and the Liquidating Trust.
                                           This Class is impaired.

                            ARTICLE IV
               MEANS FOR IMPLEMENTATION OF THE PLAN

A.    Implementation on the Effective Date

      The Plan shall become effective on the Effective Date, unless otherwise
provided in the Plan or the Confirmation Order.

B.    Means of Implementing the Plan

     1.     Sale Proceeds.

      Under the terms of the amended notice of Sale Motion [ECF No. 247], Auxo
reduced the Purchase Price as the Successful Purchaser from $6,400,000 to
$4,857,477 and, assuming that it remains the Successful Purchaser at the Sale
Hearing, the Purchase Price will be allocated as follows: a credit bid of $2,000,000
as the Credit Bid; plus the following amounts being paid on behalf of the estate: (a)
$600,000 for the Professional Fee Carveout, (b) $1,170,477 for the payment of
Allowed Administrative Claims, (c) $162,000 for payment of Allowed Priority
Claims, (d) such amounts as required to pay the U.S. Trustee’s Fees for the
distributions to be made to the Allowed Administrative Claims, the Allowed
                                           15


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 15 of 79
Priority Claims and the Accrued Professional Compensation under the Plan; plus
funding in the amount of $1,025,000 provided by Auxo under the Final Cash
Collateral Order through the closing on the Sale, and (e) funding the costs of an
E&O Insurance Policy for the Liquidating Trustee on the Effective Date.

      2.     Covid Testing Claims.

          The net recoveries from the Covid Testing Claims, after payment of such
amounts owed to Special Counsel, if recovered prior to the Effective Date, shall be
distributed by the Debtor and, if recovered after the Effective Date, shall be
distributed by the Liquidating Trustee, as follows: (a) the first $9.2 million shall be
distributed to Auxo, (b) the next $1.0 million to the Liquidating Trustee for
payment of the Allowed Claims of the Unsecured Creditors and any remaining
Administrative Expenses, (c) then, once Auxo receives eighty percent (80%) of the
amount owed on its Allowed Secured Claim, each dollar received thereafter by the
Liquidating Trustee shall be split with fifteen percent (15%) of such recoveries for
payment of the Allowed Claims of the Unsecured Creditors and eighty-five percent
(85%) of such recoveries for payment of the Allowed Secured Claim of Auxo until
Auxo is paid in full on its Allowed Secured Claim. Thereafter, all such recoveries,
net of fees and expenses of the Liquidating Trust, shall be paid to the Allowed
Claims of the Unsecured Creditors.

      3.     Transfer of Proceeds. On the Confirmation Date, any proceeds of the
Sale after satisfaction of the Allowed Administrative Claims, the Allowed Priority
Claims and the Accrued Professional Compensation, shall be transferred to the
Liquidating Trustee.

       4.     Causes of Action and Covid Testing Claims. The Liquidating
Trustee shall prosecute the Causes of Action and the Covid Testing Claims to the
extent practicable and to the extent it determines that pursuing some or all of the
Causes of Action and the Covid Testing Claims are prudent and will maximize the
value of the assets held by the Liquidating Trust for distribution to the
Beneficiaries of the Liquidating Trust, as provided under the Liquidating Trust
Agreement. The Liquidating Trustee shall make such determinations after
consultation with the Post-Confirmation Committee, and Auxo (until Auxo is paid
in full on its Secured Claim). Upon the Confirmation Date, Special Counsel and its
rights under its order authorizing its retention entered by the Bankruptcy Court
shall be assigned to the Liquidating Trustee, upon the same terms and conditions as
authorized by the Bankruptcy Court, including its rights to compensation for
                                            16


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 16 of 79
prosecuting and recovering the Covid Testing Claims that are preserved and shall
survive the Effective Date of the Plan.

       5.    Preservation of Causes of Action. Except as expressly provided
herein, and unless expressly waived, relinquished, exculpated, released,
compromised or settled in the Plan, or an agreement entered into or delivered in
connection with the Plan, the Liquidating Trust will exclusively retain and may
enforce, as the representatives of the Estate under section 1123(b)(3)(B), and the
Debtor expressly reserves and preserves for these purposes, in accordance with
sections 1123(a)(5)(B) and 1123(b)(3) of the Bankruptcy Code, all Causes of
Action, including but not limited to those set forth on Exhibit B to the Plan and in
any Plan Supplement, that the Debtor or the Estate may hold against any person or
entity, which shall vest in the Liquidating Trust, under the control of the
Liquidating Trustee. Accordingly, no preclusion doctrine, including, without
limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable or otherwise) or laches shall apply to such
Causes of Action by virtue of, or in connection with, the confirmation,
consummation of effectiveness of this Plan. The Liquidating Trustee or his
successors or assigns exclusively may pursue such retained claims, demands, rights
or Causes of Action, per the terms of the Liquidating Trust. For purposes of
clarification, Debtor’s rights pursuant to the Sale and the Asset Purchase
Agreement authorized by the Sale, are preserved.

      6.     Vesting of Assets of Estate. Upon the Confirmation Date and subject
only to the terms of this Plan, all Remaining Assets of the Debtor and the Estates,
wherever situated, shall vest in the Liquidating Trust, free and clear of all liens,
claims, encumbrances and interests, except as otherwise expressly provided herein.
The Remaining Assets will continue to be administered, liquidated, and distributed
by the Liquidating Trustee pursuant to the Plan and the Liquidating Trust
Agreement. If the Sale has not been consummated by the Confirmation Date, the
Liquidating Trustee shall consummate the Sale.

     7.    Execution of the Liquidating Trust Agreement. On or before the
Confirmation Hearing, the Liquidating Trustee and the Debtor on behalf of
themselves and the Estate, will execute the Liquidating Trust Agreement.

     8.    Appointment of the Liquidating Trustee. Upon entry of the
Confirmation Order, the Liquidating Trustee shall be authorized to execute

                                            17


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 17 of 79
documents on behalf of the Debtor and the Estate. Paul R. Hage, a partner with
Taft Stettinius & Hollister, LLP, shall be the Liquidating Trustee.

     9.     Powers and Responsibilities of Liquidating Trustee

       The Liquidating Trustee will be in control of and authorized and empowered
to carry out the terms and conditions of this Plan and the Liquidating Trust
Agreement and will have those responsibilities created by this Plan and the
Liquidating Trust Agreement upon the terms and conditions summarized therein,
and will, for the benefit of the Beneficiaries, exercise the rights and powers vested
in it by this Plan and the Liquidating Trust Agreement in the same manner, and use
the same degree of care and skill in his exercise as a prudent person would exercise
and use under the circumstances in the conduct of the Liquidating Trustee’s own
affairs, and further agrees to receive and disburse all of the Remaining Assets in
accordance with the terms of this Plan and the Liquidating Trust Agreement. More
specifically, without limitation, the Liquidating Trustee shall have the right, power,
authority, standing, and approval, and shall be empowered to:

      (a) perform all of the obligations and agreements of the Plan and the
Liquidating Trust Agreement provided for herein;

       (b) keep and maintain in a trust account for the benefit of the Liquidating
Trust into which proceeds resulting from the initial receipt or from the Sale or
other disposition of, or from the income resulting from, all or any part of the
liquidation of Debtor’s Assets and/or the prosecution of Causes of Action and/or
the proceeds of the Covid Test Claims;

      (c) keep and maintain trust accounts for the benefit of the Liquidating Trust
into which accounts the Liquidating Trustee may place Disputed Claim Reserves;

      (d) establish and maintain Distribution Reserve Accounts for the holders of
Disputed Claims;

       (e) commence, continue, prosecute, litigate, and/or settle and compromise
Claims. Causes of Action and the Covid Test Claims, by or against the Debtor and
third parties on behalf of the Liquidating Trust and for the benefit of the
Beneficiaries thereof (except as expressly provided in the Plan or any order entered
in the Chapter 11 Case (including the Confirmation Order), the Liquidating Trustee
will have and shall retain after the Confirmation Date any and all rights and

                                            18


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 18 of 79
defenses that the Debtor had with respect to any Claim as of the Petition Date. All
Claims of any Entity subject to section 502(d) of the Bankruptcy Code shall be
deemed disallowed as of the Effective Date unless and until such Entity pays in full
the amount that it owes the Debtor or the Estate;

       (f) object to any Claims (disputed or otherwise) at any time prior to the
Distribution Date and to settle, compromise, withdraw, or litigate to judgment,
objections to any and all Claims, regardless of whether the Claim was scheduled by
Debtor and classified as undisputed, liquidated, and non-contingent, or otherwise,
and to seek subordination of any Claim under the Bankruptcy Code or any other
authority;

       (g) make Distributions in respect of Allowed Claims subsequent to the
Effective Date in accordance with the Plan and the Liquidating Trust Agreement;

     (h) take any actions necessary to the collection, receipt, or disposition of any
Remaining Assets;

      (i) execute and deliver all releases, satisfactions, and termination statements
as may be required in connection with full payment of any debt obligation secured
by any Lien or security interest;

      (j) retain and/or terminate professional persons without Bankruptcy Court
approval, in the Liquidating Trustee’s discretion, to assist in the duties and
responsibilities ascribed to him under this Plan and the Liquidating Trust
Agreement. The reasonable fees and expenses of all professionals retained by the
Liquidating Trustee shall be paid from the Remaining Assets without Bankruptcy
Court approval or as provided in the Liquidating Trust Agreement;

      (k) satisfy all reporting requirements for the Liquidating Trust, and all assets
held by or on behalf of the Liquidating Trust, to the relevant reporting authority;

       (l) file with the Bankruptcy Court reports regarding the liquidation or other
administration of property comprising the Remaining Assets, the distributions
made by the Liquidating Trust, and other matters required to be included in such
report; and

      (m) except as otherwise ordered by the Bankruptcy Court, and subject to the
terms of the Plan and the Liquidating Trust Agreement, pay any fees and expenses

                                            19


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 19 of 79
incurred by the Liquidating Trust on or after the Effective Date in accordance with
the Liquidating Trust Agreement and without Bankruptcy Court approval.

      9.     Sources for Plan Distribution. It is contemplated that all of the
funds necessary for the Debtor or the Liquidating Trustee to make payments of
Cash pursuant to the Plan shall be obtained from the following sources: (a) the
Debtor’s Cash on hand, (b) the proceeds of the Sale, (c) Cash funding provided by
Auxo to pay the Allowed Administrative Claims, the Allowed Priority Claims and
the Accrued Professional Fees, (d) Cash received in liquidation of the Remaining
Assets of the Debtor, and (e) the proceeds of Causes of Action and the Covid
Testing Claims.

       10.    Exculpation and Indemnification. Neither the Liquidating Trustee
nor the firms or corporations representing him, or any of his employees,
professionals or agents, shall in any way be liable for any acts of any of his
employees, professionals or agents, except for acts undertaken by them in bad
faith, gross negligence or willful misconduct, in the performance of their respective
duties.

      11.      Equity of Debtor

     As of the Confirmation Date, Mr. Grossi will continue to be the sole
member of the Debtor.

       12.   Corporate Action

        (a) On, or after the Confirmation Date, as applicable, all matters provided
for hereunder that would otherwise require approval of the members or managers
of the Debtor shall be deemed to have been so approved pursuant to applicable
state law, without any requirement of further action by members or managers of the
Debtor.

       (b) The Debtor and the Liquidating Trustee are authorized to execute,
deliver, file, or record such contracts, instruments, releases and other agreements or
documents and take such actions as may be necessary or appropriate to effectuate,
implement and further evidence the terms and conditions hereof.

       13.   Allowed Claims


                                            20


23-43403-mlo     Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 20 of 79
       Notwithstanding any provision herein to the contrary, the Liquidating
Trustee shall only make Distributions to holders of Allowed Claims. No holder of a
Disputed Claim will receive any Distribution on account thereof until (and then
only to the extent that) its Disputed Claim becomes an Allowed Claim. The
Liquidating Trustee may, in its discretion, withhold Distributions otherwise due
hereunder to any Claim holder until the Claims Objection Deadline to enable a
timely objection thereto to be filed. Any holder of a Claim that becomes an
Allowed Claim after the Effective Date will receive its Distribution in accordance
with the terms and provisions of this Plan and the Liquidating Trust Agreement.
The Debtor and the Liquidating Trustee have no obligation to object to claims
where there are insufficient monies to pay those claims. The Liquidating Trustee
shall have the standing accorded to the Debtor after the Confirmation Date.

      14. Confirmation where a class of claims has not accepted their
      treatment under the Plan or where a party in interest has objected to
      confirmation

        Debtor reserves the ability to confirm the Debtor’s Plan, as amended, over
the objection of any party in interest, and any class of claims that has not accepted
their treatment under the Plan pursuant to, inter alia, 11 U.S.C section 1129(b).




                           ARTICLE V
               TREATMENT OF EXECUTORY CONTRACTS
                     AND UNEXPIRED LEASES

     A.      Assumption and Rejection of Executory Contracts and Unexpired
Leases

       1.   Any executory contracts and unexpired leases that are listed in the
Plan Supplement as executory contracts or unexpired leases to be assumed, or are
to be assumed pursuant to the terms hereof, shall be deemed assumed by the
Debtor as of date of entry of the Confirmation Order, and the entry of the
Confirmation Order by the Bankruptcy Court shall constitute approval of any such
assumptions pursuant to section 365(a) and 1123 of the Bankruptcy Code. To the
extent necessary, any such executory contracts shall be treated as being assigned to


                                           21


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 21 of 79
the Liquidating Trustee, and any requirements to demonstrate adequate assurance
of future performance shall be deemed to have been satisfied.

       2.    Any executory contracts and unexpired leases that have not expired by
their own terms on or prior to the Effective Date, which the Debtor has not
assumed or rejected during the Chapter 11 Case, which are not identified on
Exhibit C to the Plan as executory contracts or unexpired leases to be assumed,
which are not assumed pursuant to the terms hereof, and which are not subject of a
motion pending as of the Effective Date to assume the same, shall be deemed
rejected by the Debtor as of the entry of the Confirmation Order, and the entry of
the Confirmation Order by the Bankruptcy Court shall constitute approval of any
such rejections pursuant to the Bankruptcy Code.




                                          22


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 22 of 79
     B.      Claims Based on Rejection of Executory Contracts or Unexpired
Leases

       All proofs of Claim arising from the rejection of executory contracts or
unexpired leases must be filed within thirty (30) days after the later of: (i) the date
of entry of an order of the Bankruptcy Court approving any such rejection; or (ii)
the Effective Date. Any Claims arising from the rejection of an executory contract
or unexpired lease for which proofs of Claim are not timely filed within that time
period will be forever barred from assertion against the Debtor, the Estate, the
Liquidating Trust, their successors and assigns, and their assets and properties,
unless otherwise ordered by the Bankruptcy Court or as otherwise provided herein.
All such Claims shall, as of the Effective Date, be subject to the provisions in
Article IX of the Plan, including the permanent injunction.

     C. Cure of Defaults for Executory Contracts and Unexpired Leases
Assumed Pursuant to the Plan

        Any monetary amounts by which any executory contract and unexpired
lease to be assumed pursuant to the Plan or otherwise is in default shall be
satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the
default amount in Cash on or as soon as practicable after the Effective Date or on
such other terms as the parties to each such executory contract or unexpired lease
may otherwise agree. In the event of a dispute regarding the amount of a cure
payment, “adequate assurance of future performance” (within the meaning of
section 365 of the Bankruptcy Code), or any other matter pertaining to assumption
or assignment: (i) the Debtor or Liquidating Trustee, as applicable, retains the right
to reject the applicable executory contract or unexpired lease at any time prior to
the resolution of the dispute; and (ii) cure payments shall only be made following
the entry of a Final Order resolving the dispute or the agreement of the
counter-party and the Debtor or Liquidating Trustee.

      D.     Assumption of D&O Insurance Policies

       As of the Confirmation Date, the Debtor shall be deemed to have assumed
all of the Debtor’s unexpired directors’ and officers’ liability insurance policies in
place with outside carriers pursuant to section 365(a) of the Bankruptcy Code.
Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of
the foregoing assumption of each of the unexpired directors’ and officers’ liability
insurance policies, whether or not such policies are identified on Exhibit C to the
                                            23


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 23 of 79
Plan or scheduled in the Debtor’s schedules. All claims and rights granted under all
such policies shall transfer to the Liquidating Trust and the Liquidating Trustee is
authorized to pursue recovery against insurance policies for any Causes of Action
that are covered claims and/or covered wrongful acts as provided herein and as
further set forth in the Liquidating Trust Agreement.

                                ARTICLE VI
                    PROVISIONS GOVERNING DISTRIBUTIONS

      A.    Distributions for Claims Allowed as of the Effective Date

       Except as otherwise provided herein or as may be ordered by the Bankruptcy
Court, the Liquidating Trustee shall make distributions as soon as reasonably
practicable on account of all Allowed Claims that are entitled to receive
distributions under the Plan and shall make further distributions to holders of
Claims that subsequently are determined to be Allowed Claims. Distributions shall
be made pursuant to the Distribution Schedule. The order of priority shall be as set
forth in Articles II and III herein.

      B.    Delivery of Distributions

               1.     Delivery of Distributions

      Distributions to holders of Allowed Claims shall be made to the holder of
such Claim as of the date of Distribution.

            2.        Address of Record

      The address of the holder of a Claim shall be, for purposes of Distributions
made pursuant to the Plan, the address set forth in any proof of Claim filed by such
holder or request for payment of an administrative expense, or, in the absence of
such a proof of Claim or request, the address set forth in the Debtor’s books and
records.

            3.        Undeliverable Distributions

      (a) Holding of Certain Undeliverable Distributions. If any Distribution
to a holder of an Allowed Claim is returned to the Liquidating Trustee as
undeliverable, no further Distributions shall be made to such holder unless and

                                               24


23-43403-mlo        Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 24 of 79
until the Liquidating Trustee is notified in writing of such holder’s then-current
address. Undeliverable Distributions shall remain in the possession of the
Liquidating Trustee until such time as any such Distributions become deliverable.
Undeliverable Cash shall not be entitled to any interest, dividends or other accruals
of any kind. As soon as reasonably practicable, the Liquidating Trustee shall make
all Distributions that become deliverable. If the Liquidating Trustee is not able to
deliver a Distribution to a holder of an Allowed Claim, and more than six (6)
months has elapsed since the initial Distribution was returned as undeliverable, the
Liquidating Trustee may distribute those funds pursuant to the Distribution
Schedule to other holders of Allowed Claims.

      C.       Minimum Distribution

      Any other provision of the Plan notwithstanding, the Liquidating Trustee
will not be required to make Distributions of Cash less than $50 in value, and each
such Claim to which this limitation applies shall be deemed satisfied in full.

      D.       Setoffs

      The Debtor and Liquidating Trustee may, pursuant to section 553 of the
Bankruptcy Code or applicable non-bankruptcy law, set off against any Allowed
Claim and the Distributions to be made pursuant hereto on account of such
Allowed Claim (before any Distribution is made on account of such Allowed
Claim), the rights and Causes of Action of any nature that the Estate and the
Liquidating Trust may hold against the holder of any such Allowed Claim;
provided, however, that neither the failure to effect such a setoff nor the allowance
of any Claim hereunder shall constitute a waiver or release by the Debtor or the
Liquidating Trustee of any such rights and Causes of Action that the Debtor or the
Liquidating Trustee may possess against any such holder, except as specifically
provided herein.

                           ARTICLE VII
           CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

       A.    Conditions Precedent to the Effective Date

        The following are conditions precedent to the Effective Date that must be
satisfied:


                                            25


23-43403-mlo     Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 25 of 79
      1.     Entry of the Confirmation Order; and

      2.     The Confirmation Order becoming a Final Order.

       B.    Waiver of Conditions

       Intentionally omitted.

       C.    Non-Occurrence of Conditions

        If the Effective Date does not occur by March 31, 2024, the Debtor may
determine upon notice to the Bankruptcy Court that the Plan shall be null and void
in all respects and nothing contained in the Plan or the Disclosure Statement shall:
(i) constitute a waiver or release of any Cause of Action or Claim; (ii) constitute an
admission, acknowledgement, offer or undertaking in any respect by any party,
including the Debtor; or (iii) otherwise prejudice in any manner the rights of any
party, including the Debtor.

                      ARTICLE VIII
    ALLOWANCE AND PAYMENT OF PROFESSIONAL FEE CLAIMS

       All final requests for payment of Accrued Professional Compensation must
be filed no later than sixty (60) days after the Effective Date. After notice and a
hearing, the Allowed amounts of Accrued Professional Compensation shall be
determined by the Bankruptcy Court. Any Retained Professional may also seek
authority to file an interim fee application seeking allowance and payment of
Accrued Professional Compensation prior to the Effective Date.

                             ARTICLE IX
                 INJUNCTIVE AND RELATED PROVISIONS

      A.     Release of Claims and Termination of Equity Interests

       Except as otherwise provided in this Plan and the Liquidation Trust
Agreement, the rights afforded in the Plan and the treatment of all Claims and
Equity Interests in the Plan shall be in exchange for and in complete satisfaction of,
and release of Claims and Equity Interests of any nature whatsoever, including any
interest accrued on such Claims from and after the Petition Date, against the
Debtor and the Estate, or any of their respective Assets. Except as otherwise

                                            26


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 26 of 79
provided in this Plan, (i) on the Effective Date, all Claims against the Debtor will
be deemed satisfied and released in full and (ii) all entities shall be precluded from
asserting any Claims against the Liquidating Trustee or the Debtor and the Estate,
their respective successors or assigns, or the Assets. The Confirmation Order shall
be a judicial determination of release of all liabilities of the Debtor. Except as
otherwise provided in the Plan, neither the Plan, nor entry of the Confirmation
Order, nor any failure to object to a Claim shall have any res judicata, estoppel, or
other preclusive effect as to the Debtor, the Liquidating Trustees, or their
successors or assigns, with respect to any Cause of Action against any party.

      B.     Injunction

        (a) Except as provided in the Plan or the Confirmation Order, as of the
Effective Date, all entities that have held, currently hold, or may hold a Claim,
Equity Interest, or other debt or liability that would be discharged upon
Confirmation but for the provisions of section 1141(d)(3) of the Bankruptcy Code
or an Equity Interest or other right of an equity security holder that is terminated
pursuant to the terms of the Plan will be permanently enjoined from taking any of
the following action on account of any such Claims, debts or liabilities or
terminated Equity Interests or rights: (i) commencing or continuing in any manner
any action or other proceedings against the Liquidating Trust other than to enforce
any right to a distribution pursuant to the Plan; (ii) enforcing attaching, collecting
or recovering in any manner any judgment, award, decree or order against the
Debtor or Liquidating Trust other than as permitted pursuant to clause (i) above;
(iii) creating, perfecting or enforcing any lien or encumbrance against the Debtor,
or Liquidating Trust; (iv) asserting a setoff or right of subrogation of any kind
against any debt, liability or obligation due to the Debtor or the Liquidating Trust;
and (v) commencing or continuing any action, in any manner in any place that does
not comply with or is inconsistent with the provisions of the Plan or the
Liquidating Trust Agreement.

       (b) As of the Effective Date, all entities that have held, currently hold, or
may hold any Claims, obligations, suits, judgments, damages, demands, debts,
rights, causes of action or liabilities that are released pursuant to the Plan will be
permanently enjoined from taking any of the following actions against the Debtor
or Liquidating Trust on account of such released claims, obligations, suits,
judgments, damages, demands, debts, rights causes of action or liabilities: (i)
commencing or continuing in any manner any action or other proceedings; (ii)
enforcing, attaching, collecting or recovering in any manner, any judgment, award,
                                            27


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 27 of 79
decree or order; (iii) creating, perfecting or enforcing any lien or encumbrance; (iv)
asserting a setoff or right of subrogation of any kind against any debt, liability or
obligation due to any released entity; and (v) commencing or continuing any
action, in any manner, in any place that does not comply with, or is inconsistent
with, the provisions of the Plan.

       (c) By accepting Distributions, or the possibility of receiving
Distributions, pursuant to the Plan, each holder of a Claim or person or Entity
asserting a Claim will be deemed to have specifically consented to the injunctions
set forth in Article IX.B of the Plan. The permanent injunction under Article IX.B
of the Plan shall apply to and inure to the benefit of, without limitation, the Debtor
and the Liquidating Trust.

      C.     No Discharge

       Pursuant to section 1141(d)(3) of the Bankruptcy Code, Confirmation will
not discharge the Debtor.

                              ARTICLE X
                       RETENTION OF JURISDICTION

       Notwithstanding the entry of the Confirmation Order and the occurrence of
the Effective Date, the Bankruptcy Court shall, after the Effective Date, retain such
jurisdiction over the Chapter 11 Case and all Entities with respect to all matters
related to the Chapter 11 Case, to the fullest extent legally permissible, including
but not limited to, jurisdiction to:

      1.     Allow, disallow, determine, liquidate, classify, estimate or establish
the priority or secured or unsecured status of any Claim or Equity Interest,
including the resolution of any request for payment of any Administrative Claim
and the resolution of any and all objections to the allowance or priority of Claims
or Equity Interests;

       2.     Grant or deny any applications for allowance of compensation or
reimbursement of fees or expenses authorized pursuant to the Bankruptcy Code or
the Plan, for periods ending on or before the Effective Date;

       3.    Resolve any matters related to the assumption of assignment or
rejection of any executory contract or unexpired lease to which a Debtor is party or

                                            28


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 28 of 79
with respect to which a Debtor may be liable and to hear, determine and, if
necessary, liquidate, any Claims arising therefrom, including those matters related
to any amendment to the Plan after the Effective Date, and adding executory
contracts or unexpired leases to the list of executory contracts and unexpired leases
to be assumed;

     4.    Ensure that Distributions to holders of Allowed Claims are
accomplished pursuant to the provisions of the Plan;

        5.   Decide or resolve any motions, adversary proceedings, contested or
litigated matters and any other matters, and grant or deny any applications
involving a Debtor that may be pending on the Effective Date or instituted by the
Liquidating Trustee after the Effective Date, and otherwise adjudicate any matters
preserved under the terms of the Plan and the Liquidating Trust, provided,
however, that the Liquidating Trustee shall reserve the right to commence actions
in all appropriate jurisdictions;

       6.    Enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all other contracts, instruments,
releases, and other agreements or documents adopted in connection with the Plan
and Disclosure Statement and any Plan Supplement;

       7.    Resolve any cases, controversies, suits or disputes that may arise in
connection with the Effective Date, modification, interpretation or enforcement of
the Plan or any Entity’s obligations incurred in connection with the Plan;

      8.     Issue injunctions, enforce them, enter and implement orders or take
such other actions as may be necessary or appropriate to restrain interference by
any Entity with the Effective Date or enforcement of the Plan, except as otherwise
provided in the Plan;

       9.     Resolve any cases, controversies, suits or disputes with respect to the
releases, injunction and other provisions contained herein, and enter such orders as
may be necessary or appropriate to implement or enforce all such releases,
injunctions and other provisions;

      10. Enter and implement such orders as necessary or appropriate if the
Confirmation Order is modified, stayed, reversed, revoked or vacated;


                                           29


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 29 of 79
      11.    Supervise collection of all Remaining Assets;

      12. Resolve any other matters that may arise in connection with or related
to the Plan, the Disclosure Statement, the Confirmation Order, the Liquidating
Trust or any contract, instrument, release, or other agreement or document adopted
in connection with the Plan or the Disclosure Statement;

      13.    Enter an order and/or the decree concluding the Chapter 11 Case; and

     14. Otherwise enforce the provisions of the Plan and the Liquidating Trust
Agreement.

                              ARTICLE XI
                       MISCELLANEOUS PROVISIONS

      A.     Post-Effective Date Professionals’ Fees and Final Fee Applications

       The Liquidating Trustee may pay reasonable, documented fees of Retained
Professionals incurred after the Effective Date, pursuant to and subject to the terms
of the Liquidating Trust Agreement, without the necessity for Court approval. The
Liquidating Trustee shall retain current counsel for the Committee, Taft, Stettinius
& Hollister, LLP. The Liquidating Trustee shall retain the current financial advisor
for the Debtor, O’Keefe & Associates, and Debtor waives any potential conflict of
interest.

      B.     Payment of Statutory Fees

      The Liquidating Trustee shall continue to pay to the United States Trustee
the appropriate sums required pursuant to 28 U.S.C. §1930(a)(6) after the Effective
Date until such time as the Chapter 11 Case is closed by the Court.

      C.    Modification of Plan

       Subject to the limitations contained in the Plan: (i) the Debtor reserves the
right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to
amend or modify the Plan prior to the entry of the Confirmation Order, including
amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code;
and (ii) after the entry of the Confirmation Order, the Debtor may, and upon order
of the Bankruptcy Court, amend or modify the Plan in accordance with section
                                           30


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 30 of 79
1127(b) of the Bankruptcy Code, or remedy any defect or omission or reconcile
any inconsistency in the Plan in such manner as may be necessary to carry out the
purpose and intent of the Plan.

      D.    Revocation of Plan

       The Debtor reserves the right to revoke or withdraw the Plan prior to the
entry of the Confirmation Order and to file subsequent plans. If the Debtor revokes
or withdraws the Plan, or if entry of the Confirmation Order or the Effective Date
does not occur, then: (i) the Plan shall be null and void in all respects; and (ii)
nothing contained in the Plan shall: (a) constitute a waiver or release of any claims
by or against, or against, or any Equity Interests in, such Debtor or any other
Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or
(c) constitute an admission of any sort by the Debtor or any other Entity.

      E.     Successors and Assigns

      The rights, benefits and obligations of any Entity named or referred to herein
shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such Entity.

      F.    Governing Law

      Except to the extent that the Bankruptcy Code or Bankruptcy Rules apply,
and subject to the provisions of any contract, instrument, release, or other
agreement or document entered into in connection herewith, the rights and
obligations arising hereunder shall be governed by, and construed and enforced in
accordance with, the laws of the State of Michigan, without giving effect to the
principles of conflict of laws thereof.

      G.       Closing of the Case

       The Liquidating Trustee, after consultation with the Office of the United
States Trustee, shall file a motion for the underlying Chapter 11 Case to be closed
when it deems closure to be prudent.

      H.    Reservation of Rights

      Except as expressly set forth herein, the Plan shall have no force or effect
unless and until the Bankruptcy Court enters the Confirmation Order. Neither the
                                       31


23-43403-mlo    Doc 249   Filed 09/19/23   Entered 09/19/23 00:19:30   Page 31 of 79
filing of the Plan, any statement or provision contained herein, nor the taking of
any action by a Debtor or any Entity with respect to the Plan shall be or shall be
deemed to be an admission or waiver of any rights of Debtor or any
party-in-interest prior to the Effective Date.

      I.    Section 1146 Exemption

       Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of
property pursuant hereto shall not be subject to any stamp tax, transfer tax or other
similar tax or governmental assessment in the United States, and the Confirmation
Order shall direct the appropriate state or local governmental officials or agents to
forego the collection of any such tax or governmental assessment and to accept for
filing and recordation, instruments or other documents pursuant to such transfers of
property without the payment of any such tax or governmental assessment. Any
transfers in connection with the Plan are deemed transferred subject to section
1146(a). To the extent that the Sale has not been consummated prior to the
Effective Date, the Sale may be consummated by the Liquidating Trustee subject to
the section 1146(a) exemption as set forth herein.

      J.     Section 1125(e) Good Faith Compliance

       The Debtor and its Representatives shall be deemed to have acted in “good
faith” under, inter alia, section 1125(e) of the Bankruptcy Code.

      K.       Further Assurances

       The Debtor, all holders of Claims receiving Distributions hereunder and all
other parties-in-interest shall, from time to time, prepare, execute and deliver any
agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the plan or the Confirmation
Order.

      L.    Filing of Additional Documents

       On or before the Effective Date, the Debtor may file with the Bankruptcy
Court all agreements and other documents that may be necessary or appropriate to
effectuate and further evidence the terms and conditions hereof.



                                           32


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 32 of 79
      M.     No Stay of Confirmation Order

      The Confirmation Order shall contain a waiver of any stay of enforcement
otherwise applicable.

      N.    Compromises and Settlements

       Pursuant to Bankruptcy Rule 9019(a), the Debtor may compromise and
settle various Claims (i) against it and (ii) that it has against other persons. The
Debtor expressly reserves the right (with Bankruptcy Court approval, following
appropriate notice and opportunity for a hearing) to compromise and settle Claims
against it and Claims that it may have against other persons up to and including the
Confirmation Date. After the Confirmation Date, such right shall pass to the
Liquidating Trustee and the Liquidating Trust shall be governed by the terms of the
Liquidating Trust Agreement.

      O.    Payments on Disputed Claims

       Notwithstanding anything in this Plan to the contrary, neither the Debtor nor
the Liquidating Trustee shall be obligated to make any Distribution towards any
Disputed Claim. Further, neither the Debtor nor the Liquidating Trustee shall be
required to make any payments for an Allowed Claim to any Creditor if the Debtor
or the Liquidating Trustee has filed a motion, objection, adversary proceeding,
state court proceeding or other similar notice against such Creditor alleging an
objection, claim, cause of action, offset or counter-claim, such that if sustained and
not paid by such Creditor would result in a disallowance of such Allowed Claim in
accordance with §502(d) of the Code.

      P.    Records Retention.

      Debtor and the Liquidating Trustee shall comply with the provisions of the
proposed Sale Order regarding the retention of records, and any other applicable
Court Orders.

      Q.     Inconsistency/What Governs.

      To the extent there is any inconsistency between the Plan, the Disclosure
Statement, the Liquidating Trust Agreement and the Confirmation Order, the
Confirmation Order shall control.
                                      33


23-43403-mlo    Doc 249    Filed 09/19/23   Entered 09/19/23 00:19:30   Page 33 of 79
                          DISCLOSURE STATEMENT

      The Debtor1 submits as follows for its disclosure statement (the “Disclosure
Statement”) to accompany its Plan2 concurrently filed herewith:

      I.     DESCRIPTION OF DEBTOR

        Debtor, which was organized on June 29, 2012, is a Michigan limited
liability company.

      A.     The Debtor-In-Possession

       On the Petition, the Debtor filed a voluntary petition (“Petition”) for relief
under the Bankruptcy Code in the Bankruptcy Court, commencing this Chapter 11
Case. This Case was assigned to the Honorable Maria Oxholm. Upon filing the
Petition for Chapter 11 Case, the Debtor became a “Debtor-in-Possession” as that
term is understood in the Bankruptcy Code.

      B.     Debtor’s Principals and Management

      1.     Background

       Debtor is currently managed by Mr. Grossi, who is the Debtor’s sole
member and its CEO. Upon confirmation, the remaining Debtor’s assets will be
transferred to a liquidating trust, with Paul Hage as the Liquidating Trustee
pursuant to the Liquidating Trust Agreement.

      Mr. Hage is Co-Chair of the Business Restructuring, Bankruptcy and
Creditors’ Rights Group at Taft, Stettinius & Hollister, LLP (“Taft”). Taft is the
appointed counsel for the Unsecured Creditors Committee and shall be counsel for
the Liquidating Trustee. Mr. Hage is also a member of the firm’s Diversity, Equity
and Inclusion Committee. Mr. Hage obtained his law degree from Loyola
University of Chicago School of Law and an LL.M. in Bankruptcy Law from St.
1
  Capitalized terms not otherwise defined herein are defined in the. Plan filed with
this Disclosure Statement.
2
  All terms and conditions of the Plan of Liquidation are incorporated herein by
reference.
                                       34


23-43403-mlo    Doc 249   Filed 09/19/23   Entered 09/19/23 00:19:30   Page 34 of 79
John’s University School of Law. Mr. Hage represents parties in bankruptcy and
other insolvency proceedings nationwide. Mr. Hage frequently speaks and writes
on bankruptcy issues for organizations such as the American Bankruptcy Institute,
the American Bar Association Business Bankruptcy Committee, the Federal Bar
Association and Norton Institutes on Bankruptcy Law.

       Mr. Hage is a Fellow of the American College of Bankruptcy. He is the
Secretary and a member of the Executive Committee of the American Bankruptcy
Institute. He serves as the President of Access to Bankruptcy Court, a non-profit
that raises funds to provide experienced bankruptcy counsel, free of charge, to
low-income individuals residing in the Eastern District of Michigan. He is also a
member of the Board of Directors of CARE (Credit Abuse Resistance Education),
a national nonprofit that provides financial literacy education to students and
young adults. Additionally, Mr. Hage serves as Co-Director of the Conrad B.
Duberstein National Bankruptcy Moot Court Competition, the largest single-site
moot court competition in the country.

       Mr.    Hage      currently    serves     as     the     court-appointed  Plan
Administrator/Wind-Down Trustee for Voyager Digital, LLC and its affiliates in
their chapter 11 bankruptcy proceedings pending in the United States Bankruptcy
Court for the Southern District of New York. Prior to its bankruptcy filing, Voyager
had over $1.5 billion in assets and over $2.0 billion in liabilities.

      2.    Compensation

      In 2021, Mr. Grossi received $676,153.77 for his compensation and in 2022
Mr. Grossi received $241,153.85 in compensation. Since the Petition Date, Mr.
Grossi received $40,384.68 in compensation. While Mr. Grossi is no longer an
employee of Debtor, he remains the sole member of Debtor and manages its
corporate affairs and is the Debtor’s responsible person.

      Post confirmation Mr. Hage as Liquidating Trustee will be compensated
from the Liquidating Trust at an hourly rate as set forth in the Liquidating Trust
Agreement. By operation of the terms of the Plan, the assets will transfer to the
Liquidating Trust on the Confirmation Date and will be administered by the
Liquidating Trustee, or any successor Liquidating Trustee as provided for in the
Liquidating Trust Agreement. Following the Confirmation Date, Mr. Grossi will no
longer administer the Debtor’s assets.

                                           35


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 35 of 79
      3.       Legal Relationships

     Mr. Grossi owns 100% of the equity of Debtor. Mr. Grossi worked for the
Debtor as an employee until mid-August of 2023 and Mr. Grossi currently
manages the Debtor’s corporate affairs.

      Mr. Grossi guaranteed the following obligations of the Debtor: a. the
commercial real estate lease of between the Debtor and its landlord, Medical Real
Estate Group, LLC and 6600 Highland LLC; and b. the Debtor’s secured loan by
Comerica.

       C.   Description of Debtor’s Business and Causes for Chapter 11 Filing

      Debtor is a CLIA certified, CAP proficient, COLA accredited, medical
laboratory in Waterford, Michigan which had approximately 112 employees as of
the Petition Date and currently has 75 employees. Debtor specializes in substance
abuse, blood and molecular testing.

       Debtor operates at 6620 Highland Road, Waterford, MI 48327 pursuant to
the lease with Medical Real Estate Group, LLC (the “Operating Lease”).
Previously, Debtor also leased commercial property at 6600 Highland Road,
Waterford, MI 48327, however, it rejected that lease on July 24, 2023 pursuant to
the Order Granting 6600 Highland, LLC Relief from Stay [ECF No. 167] because
it no longer needed that location.

      D.    Secured Debt:

      Prepetition, Debtor owed 2 primary secured obligations to Comerica and
Peninsula.

      On the Petition Date, Debtor was indebted to Comerica under the Master
Revolving Note executed by Debtor to the order of Comerica on February 28, 2022
in the original principal amount of $6,750,000 (as amended, the “Prepetition
Revolving Note”). The indebtedness under the Prepetition Revolving Note as of
the Petition Date included principal of $6,376,908.51, interest of $23,360.32, plus
accrued and accruing interest, costs, fees and expenses,



                                           36


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 36 of 79
       Under a Guaranty dated June 4, 2022 (the “Guaranty”), Mr. Grossi
guaranteed a portion of the Prepetition Indebtedness, limited to the principal sum
of $500,000 “plus interest on that amount and all costs and expenses (including
reasonable attorneys’ fees) incurred by [Comerica] in enforcing [the] Guaranty or
in collecting the Indebtedness [(as defined in the Guaranty)].”

      The Prepetition Indebtedness was secured by all assets of Debtor, including
without limitation: (a) existing and future accounts, chattel paper, contract rights,
deposit accounts, general intangibles, instruments, documents, software, rights to
payment evidenced by chattel paper, documents or instruments, commercial tort
claims, letters of credit, letter of credit rights, supporting obligations and rights to
payment for money or funds advanced or sold; (b) presently owned and hereafter
acquired inventory; (c) presently owned and hereafter acquired investment
property; (d) presently owned and hereafter acquired property in possession or
control of Comerica; (e) presently owned and hereafter acquired machinery,
equipment, furniture, fixtures, tools, parts and accessories, and all proceeds and
products of and accessions to all of the foregoing (collectively, “Prepetition
Collateral”), all as more particularly described in the Security Agreement (All
Assets) executed by Debtor in favor of Comerica dated January 19, 2021
(“Security Agreement”).

      In addition to the Comerica Prepetition Indebtedness, Debtor was obligated
to Peninsula on the Petition Date under the Note Purchase Agreement and other
loan and collateral documents (“Subordinate Loan Documents”) for
$14,940,749.14. The liabilities evidenced by the Subordinate Loan Documents,
including interest, costs, fees and expenses, are identified as the “Subordinate
Debt”.

      Under a Senior Subordination Agreement dated January 19, 2021 (as
amended, “Senior Subordination Agreement”), subject to the terms therein,
Comerica’s security interest in the Prepetition Collateral is senior to the
Subordinate Lender’s security interest in the same (the “Peninsula Prepetition
Liens”, and together with the Comerica Prepetition Liens, the “Prepetition Liens”).

      Under a Merchant Cash Advance Agreement dated March 10, 2023 (“MCA
Agreement”), Diesel Funding LLC (“Diesel”) advanced funds to Debtor
characterized as a purchase from Debtor of certain future receivables. Debtor
believes that Diesel is owed no more than $258,577.50 and does not have a valid

                                            37


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 37 of 79
lien on any assets of the Debtor, nor did it actually purchase any of Debtor’s
receivables, whether existing receivables or future receivables.

       Auxo acquired by purchase and assignment on June 2, 2023 as the successor
in interest to the Prepetition Indebtedness owed by the Debtor to (i) Comerica
under the Prepetition Loan Documents and (ii) Peninsula under the Subordinate
Loan Documents.

      E.    The Chapter 11 Filing

      Debtor filed its bankruptcy because of cash flow issues caused by a
combination of factors, including, but not limited to: (a) declining Medicare
reimbursements; (b) a decrease in Covid testing; (c) Debtor’s cost structure; (d)
erroneous claims denials by Meridian and Blue Cross; and (e) Comerica’s offset of
Debtor’s Comerica accounts following Comerica’s declaration of default against
Debtor that prevented Debtor from making payroll or paying its other necessary
operating expenses.

      Mr. Grossi and Peninsula advanced significant operating cash to the Debtor
in 2022 in order to attempt to stabilize operations.

      II.   POST-PETITION EVENTS OF SIGNIFICANCE

      A.    Post-Petition Transfers Outside the Ordinary Course of Business

       Except as set forth on the list of Preserved Causes of Action filed with the
Plan or as set forth on the Plan Supplement, Debtor has made no post-petition
transfers outside the ordinary course of business. Debtor filed its Sale Motion as a
sale not in the ordinary course of business for substantially all of Debtor’s assets
pursuant to Section 363(b) of the Bankruptcy Code, and as part of the Sale Motion
sought to assume and assign certain executory contracts and unexpired leases and
to reject certain executory contracts and unexpired leases under Section 365 of the
Bankruptcy Code. The Court has scheduled a hearing on the Sale Motion for
September 28, 2023 at 11:00 a.m.

      B.    Chapter 11 Events



                                           38


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 38 of 79
       This Disclosure Statement is not designed to provide a full, detailed
description of the motions filed and orders entered or other developments in the
bankruptcy proceeding. Further, the Disclosure Statement does not address every
motion filed or order entered in the Chapter 11 Case. Rather, the Disclosure
Statement merely provides a summary of the significant post-petition events,
motions filed, or orders of the Bankruptcy Court. Creditors are urged to review the
Bankruptcy Court docket, which lists every document filed and each docket event
in the Bankruptcy Case.

      C.    Creditors’ Committee

      The Committee was appointed on May 1, 2023 [ECF No. 68], and the
following unsecured creditor representatives were appointed to serve on the
Committee pursuant to the amended appointment on May 2, 2023 [ECF No. 70]

      Matthew George
      Gemini Lab Group, LLC
      8470 S. Shore Drive
      Clarkston, MI 48348
      248-310-4724
      matt@geminilabgroup.com

      Dorian Wright, CFO
      The Sports Marketing Agency
      13 N. Washington #706
      Ypsilanti, MI 48198
      313-800-0040
      lwright@thesportsma.com

      Maribeth Thomas, Esq., Counsel for Fisher Healthcare,
      a division of Fisher Scientific
      Tucker Arensberg, P.C.
      1500 One PPG Place
      Pittsburgh, PA 15222
      412-594-3949
      mthomas@tuckerlaw.com



                                           39


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 39 of 79
      On May 18, 2023, the Bankruptcy Court entered its Order employing Taft as
counsel to the Committee [ECF No. 112].

      D.    Special Counsel

      On September 6, 2023, Amy Thomas, Esq. and Only One Hub d/b/a Primus
Health were appointed as special counsel to pursue Debtor’s outstanding Covid-19
Testing Claims with each health insurance provider and governmental entity [ECF
No. 229]. Debtor filed amended bankruptcy schedules on August 28, 2023 [ECF
No. 206], indicating “The [Covid Testing] Claims are valued at no less than $4.0
million to the bankruptcy estate (exclusive of contingent fees owed to special
counsel to be retained by the Debtor, in the amount of 30% of the amount
recovered). The face amount of the claims may be over $40 million, however, that
amount does not take into account collectability nor the contingent fee that will be
owed to special counsel.”

      E.    Cash Collateral and Adequate Protection

      Debtor, Auxo, as the holder of an interest in Debtor’s cash collateral,
McLaren Medical Laboratory, the Committee and the U.S. Trustee agreed to the
use of cash collateral that was approved by the Court and memorialized in the
Stipulated Final Order Authorizing Use Of Cash Collateral And Granting Adequate
Protection entered on June 9, 2023 (ECF 144). Pursuant to agreed budgets filed
throughout the Chapter 11 Case, the Debtor, Auxo, the Committee, and U.S.
Trustee have agreed to Debtor’s use of cash for payment operating expenses,
including payroll.

      Debtor has experienced several budget shortfalls post-petition due to
ongoing claims denials and a reduction in anticipated receivables. Auxo has
agreed, through the Sale Closing, as well as any other administrative expenses
incurred for the benefit of the Debtor prior to the Effective Date, to fund Debtor’s
budgeted operating expenses that Debtor was unable to fund pursuant to the Final
Cash Collateral Order [ECF No. 144], the Stipulated Extension Order [ECF No.
180] and an Amended Cash Collateral Order to be submitted to the Court [ECF
No. ___].




                                           40


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 40 of 79
       Moreover, the Final Cash Collateral Order provides for a carve-out for
professional payments and payment of U.S. Trustee Fees from the first priority
position of the secured claims held by Auxo.

    F.      Negotiated Resolution Between Committee, Auxo and Debtor

     The Committee, Auxo and the Debtor met and negotiated the following
resolution to address outstanding issues including how the net Covid Testing
Claims would be divided (the “Resolution”). Subject to Court approval, they
agreed to the following:

     1.      A revised notice of sale with certain modified provisions was
filed and served on all Entities on the Bankruptcy Court’s mailing matrix for
the Debtor to give notice to all counsel of record [ECF No. 247].

     2.      At the Sale Hearing on September 28, 2023, the Debtor, the
Committee and Auxo will ask the Court to ratify, authorize and approve the
Resolution as having provided adequate notice to parties in interest. By
proceeding in this manner, parties in interest will have the maximum amount
of notice of the proposed changes. At the Sale Hearing, the Court would still
have to find that fair and adequate consideration was being paid for the
Property being sold pursuant to the Sale Motion, as well as the other statutory
requisites under the Bankruptcy Code for approving the Sale.

      3.     Under the terms of the amended notice of sale [ECF No. 247]
and subject to Bankruptcy Court approval, Auxo agreed to reduce the
Purchase Price as the Successful Purchaser from $6,400,000 to $4,857,477
and, assuming that it remains the Successful Purchaser at the Sale Hearing, the
Purchase Price will be allocated as follows: a credit bid of $2,000,000; plus
the following amounts being paid on behalf of the estate: (a) $600,000 for the
Professional Fee Carveout; (b) $1,170,477 for the payment of Allowed
Administrative Claims; (c) $162,000 for payment of Allowed Priority Claims;
(d) such amounts as required to pay the U.S. Trustee’s Fees for the
distributions to be made to the Allowed Administrative Claims, the Allowed
Priority Claims and the Accrued Professional Compensation under the Plan;
plus funding in the amount of $1,025,000 provided by Auxo under the Final
Cash Collateral Order through the closing on the Sale; and (e) funding the


                                           41


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 41 of 79
costs of an E&O Insurance Policy for the Liquidating Trustee, estimated to be
approximately $50,000.

     4.     An agreement to exclude the Covid Testing Claims as “Excluded
Assets” from the Sale pursuant to a revised Asset Purchase Agreement is
being drafted to amend the Purchase Price and make clear that the Covid
Testing Claims are excluded from the Property being purchased by Auxo
under the Asset Purchase Agreement.

     5.       Keeping the sale date of September 28, 2023 and mailing the
amended notice to the matrix and any parties that previously expressed an
interest in the assets by September 18, 2023. Debtor will seek to have the
amended notice published as soon as possible online by Crains.

    6.       The re-notice of sale provides, in pertinent part:

         “PLEASE BE ADVISED that the Debtor is authorized to solicit
         competitive bids for the Property. Auxo has been granted certain bid
         protections, so that any competitive bid must be at least the Purchase
         Price as defined in the Agreement plus $200,000. The Purchase Price
         is $4,857,477 which is derived by adding the credit bid that Auxo is
         making of $2,000,000 for the Property, plus funds that it is paying on
         behalf of the bankruptcy estate in the amount of $2,857,477. Note
         that the Property being sold will be excluding the following
         “Excluded Assets”: Debtor’s outstanding Covid-19 testing claims with
         each health insurance provider and governmental entity which are
         being pursued by appointed Special Counsel, Amy Thomas, Esq. and
         Only One Hub d/b/a Primus Health.”

     7.The parties also reached an agreement regarding the Distribution of the
proceeds of the Covid Testing Claims. The net recoveries from the Covid
Testing Claims, after payment of such amounts owed to Special Counsel, if
recovered prior to the Effective Date, shall be distributed by the Debtor and, if
recovered after the Effective Date, shall be distributed by the Liquidating
Trustee, as follows: (a) the first $9.2 million shall be distributed to Auxo, (b)
the next $1.0 million to the Liquidating Trustee for payment of the Allowed
Claims of the Unsecured Creditors, (c) then, once Auxo receives 80% of the
amount owed on its Allowed Secured Claim, each dollar received thereafter

                                            42


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 42 of 79
by the Liquidating Trustee shall be split with 15% of such recoveries for
payment of the Allowed Claims of the Unsecured Creditors and 85% of such
recoveries for payment of the Allowed Secured Claim of Auxo until Auxo is
paid in full on its Allowed Secured Claim. Thereafter, all such recoveries, net
of fees and expenses of the Liquidating Trust, shall be paid to the Allowed
Claims of the Unsecured Creditors.

    G.       Motions for Relief from Stay

      Two motions for relief from stay have been filed.

      The motion for relief from stay filed by Medical Real Estate Group LLC
[ECF No. 230] regarding Debtor’s lease for its operating location is pending.
Debtor, the Committee and Auxo are attempting to arrive at a consensual
resolution with Medical Real Estate Group. Absent an agreement, the Court will
determine what the effect of rejection will be.

       The second motion for relief from stay was filed by Younis Enterprises, LLC
[ECF No. 176], a counterparty to an executory contract/unexpired lease regarding
the use of its premises for a specimen collection site. The Debtor has agreed to
consent to stay relief effective as of Sale closing date when the contract is set to be
rejected. After the Sale has closed, Debtor will have no further use for the
premises leased from Younis Enterprises, LLC.

      H.    Motions regarding sales of assets and assuming and assigning
executory contracts

      1.   Sale Motion

       On June 23, 2023, Debtor filed the Sale Motion [ECF No. 145]. Pursuant to
the Sale Motion, Debtor proposed the sale of substantially all of its assets,
including, but not limited to all assets disclosed in Debtor’s Schedule A/B [ECF
No. 145]. The Bidding Procedures Order was entered on June 29, 2023 [ECF No.
151].3 The Sale excludes Causes of Action which include claims under Chapter 5


3
 The formal title of this document is “Order (1) Approving Bidding Procedures
And Other Matters Relating To The Sale Of The Debtors' Assets; (2) Form Of
                                      43


23-43403-mlo    Doc 249    Filed 09/19/23   Entered 09/19/23 00:19:30   Page 43 of 79
of the Bankruptcy Code. Pursuant to the Amended notice of sale [ECF 247], the
Debtor, Auxo and Committee proposed the exclusion of the Covid Testing Claims.

      McLaren Medical Laboratory objected to the Sale Motion [ECF No. 171].
The Committee filed a limited objection to the Sale Motion and an amended
limited objection [ECF Nos. 177 and 203]. Creditor, The Sports Marketing
Agency, filed a concurrence in the Committee’s limited objections [ECF No. 288].

      No qualified bidders other than Auxo came forward. It is contemplated that
the Amended Notice of the Sale Motion will be published online in Crain’s to
provide an additional bidding opportunity in advance of the adjourned hearing on
the Sale Motion. The adjourned hearing on the Sale Motion is set for September
28, 2023 at 11:00 a.m.

      2.   Omnibus Assumption Motion

      Debtor filed an omnibus motion to assume the following contracts and
unexpired leases on July 10, 2023 (the “Omnibus Assumption Motion”) [ECF No.
153] with the indicated proposed cure costs to cure any prepetition defaults;

Name                        Description                  Cure Costs

Medical Real Estate Group
LLC 29580 Northwestern
Hwy Suite 1000 Southfield
MI 48034                  Space Lease; Lab Building        $256,060.34


Orchard Software
Corporation
701 Congressional Blvd.  Laboratory Information
Ste 360 Carmel, IN 46032 System                            $101,094.20



Asset Purchase Agreement; And (3) Scheduling A Sale Hearing; And Granting
Related Relief.”
                                   44


23-43403-mlo   Doc 249   Filed 09/19/23   Entered 09/19/23 00:19:30   Page 44 of 79
MedCare MSO 150
Washington Avenue Suite
#201 Santa Fe New
Mexico 87501                   Laboratory Billing                $642,090.65

MedSpeed LLC 140
Industrial Drive, Elmhusrt,
IL 60126                    Courier Transport Services           $867,141.99

        Orchard Software Corporation filed an objection to the Omnibus
Assumption Motion, arguing that its contract was not assumable and the cure
amount was incorrect [ECF No. 156]. Medical Real Estate Group, LLC also
objected, on the basis that its cure amount was incorrect [ECF No. 160]. Debtor
withdrew its requested assumption of the Medical Real Estate Group operating
lease [ECF No. 222] and filed a motion to reject that lease [ECF No. 205] which
was objected to by Medical Real Estate Group [ECF 218]. The hearing on the
Omnibus Assumption Motion is September 28, 2023 at 11:00 a.m.

       3.   Omnibus Rejection Motion

       Debtor filed an omnibus motion to reject executory contracts and unexpired
leases (the “Omnibus Rejection Motion”) [ECF No. 154]. McLaren Medical
Laboratory filed an objection to the Omnibus Rejection Motion [ECF No. 165].
The hearing on McLaren’s objections to the Omnibus Rejection Motion is set for
September 28, 2023 at 11:00 a.m. The list of contracts to be rejected was attached
to the Omnibus Rejection Motion. Pursuant to the Omnibus Rejection Motion,
counterparties with leases or contracts that were rejected have thirty (30) days from
entry of the Order rejecting their contract or lease to file a proof of claim or amend
a previously filed proof of claim. The list of counterparties of contracts and leases
to be rejected which was attached to the Omnibus Rejection Motion follows:

Abbott Laboratories INC., D-943, CP1-4 100 Abbott Park Road Abbott Park, Illinois
60064-6095 Allscripts 305 Church at North Hills St Raleigh, NC 27609
Amazing Charts 1600 Division Rd, Suite 2000 West Warwick, RI 02893
Arkstone Medical Solutions, LLC 7000 W Palmetto Park Road Boca Raton, FL 33433
Atlassian, Inc. 350 Bush St. Floor 13 San Francisco, CA 94104
                                             45


23-43403-mlo     Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30     Page 45 of 79
Bio-Rad 2000 Alfred Nobel Drive Hercules, CA 94547
Comcast Business Agreement 5728 Schaefer Rd. Ste 203 Dearborn MI 48126
Comcast Business Agreement 6620 Highland Rd. STE 200 Waterford MI 48327
Data Innovations, LLC PO Box 101978 Atlanta, GA 30392-1978
Ellkay, LLC 200 Riverfront Blvd., 3rd Floor Elmwood Park, NJ 07407
eMDs, Inc. 10901 Stonelake Blvd #200 Austin, TX 10901
LabSoft Inc. 2202 Westshore Blvd. Ste 115 Tampa, FL 33607
Lifepoint Informatics 65 Harristown Rd. Glen Rock, NJ 07452
Medent Lab Clearinghouse Interface, 15 Hulbert St. P.O. Box 980, Auburn, NY 13021
Microsoft Corporation One Microsoft Way Redmond, WA 98052
Netalytics, LLC POBOX 969, Greer, SC 29650
Translational Software Incorporated 7683 SE 27th Street #352 Mercer Island, WA 98040
Triarq Health 424 E 4th Street Royal Oak, MI 48067
Dr. Fredric Neumann Sr. 39880 VanDyke Rd Sterling Heights, MI 48313
Little Sonia Real Estate LLC 9171 Lapeer Road, Suite 100, Davison MI 48423
Newbsknob, LLC 6310 Sashabaw Rd. Clarkston, MI 48346
Younis Enterprises, 5728 Schaefer Rd. Dearborn MI 48126
Abbott Clinical Lab Solutions 5990 142nd Ave. N Clearwater, FL 33760
Abbott Laboratories INC., D-942, CP1-4 100 Abbott Park Road Abbott Park, Illinois
60064-6095 Abbott Laboratories, Inc., 1300 East Touhy Avenue, Des Plaines, IL. 60018 Agena
Bioscience, 4755 Eastgate Mall, San Diego, CA 92121
Beckman Coulter INC. Mail Stop A2-SW-12 250 South Kraemer Blvd P.O. Box 8000 Brea, CA
92822-8000
Evoqua Water Technologies 1451 East 9 Mile Road Hazel Park, MI 48030 Leasing
Associates of Barrington, Inc. 220 North River Street, East Dundee, IL. 60118 Life
Technologies Corporation, 5781 Van Allen Way Carlsbad, CA 92008
Med Water Systems, 2262 South 1200 West Suite 101, Woods Cross, UT. 84087
Microgenics Corporation 46500 Kato Road, Fremont, CA 94538
Siemens Healthcare Diagnostics, Inc. 2089 Gregson Drive, Cary, NC. 27511
Sysmex America, Inc., 577 Aptakisic Road, Lincolnshire, IL. 60069
Amro Almradi MDPC PLLC 612 Deauville Ln. Bloomfield Hills, MI 48304 The
Sports Marketing Agency, 13 N. Washington St, #706, Ypsilanti, MI 48197-2617
Cintas, ,1065 Hanover St. Suite 105 | Wilkes
Barre, PA 18706
Cintas Fire Protection Services, 232 E Maple Rd
Troy, MI 48083
Clarity X, 1000 Brickell Avenue, Suite #715, Miami, FL 33131
                                             46


23-43403-mlo     Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30     Page 46 of 79
CoreBioLabs, 7956 Tyler BLVD, Mentor, OH 44060-4806
Great Lakes Express Delivery LLC, 3055 Cass Rd., Ste 123, Traverse City, MI 49684-7904
iCare, 29919 Jefferson Ave, St. Clair Shores, MI 48082-1823
iOpen 1101 Pennsylvania Avenue, NW Washington DC 20004
Iron Mountain 1101 Enterprise Dr. Royersford, PA 19468
LabPath Consulting, 105 4th Street E, Tierra Verde, FL 33715-2241
LabCorp 531 South Spring Street Burlington, North Carolina 27215
McLaren Medical Laboratory 4000 S. Saginaw St. Flint MI 48507
Solaris 110 Dewey Dr. Suite A, Nicholasville, Kentucky 40356
Stericycle, 2355 WAUKEGAN ROAD, BANNOCKBURN IL 60015-5501
Superior Medical Waste Disposal LLC P.O. Box 700797 Plymouth, MI 48170
UPS, P.O. Box 809488, Chicago, IL 60680-9488

       4.   Debtor’s Motion to Reject Operating Lease

       As indicated above, Debtor withdrew its requested assumption of the
Medical Real Estate Group operating lease [ECF No. 222] and filed a motion to
reject that lease [ECF No. 205] that was objected to by Medical Real Estate Group
[ECF No. 218]. The hearing on this matter has been set for September 28, 2023 at
11:00 a.m.

       I.   The Plan and Disclosure Statement

       Debtor is filing its Combined Disclosure Statement and Plan of Liquidation.
The Plan provides for the transfer of any remaining assets to the Liquidating Trust,
and for the Liquidating Trustee to distribute the proceeds of such assets to those
entitled to payment under the Bankruptcy Code as modified by this Court’s Orders,
in addition to other duties such as determining whether to pursue Avoidance
Actions and other Causes of Action. Debtor believes that its Plan is feasible and in
the best interest of the Estate.

       J.     Pending and Contemplated Litigation Involving Debtor

       There is no contemplated litigation involving Debtor other than with respect
to claims allowance, administrative expense allowance issues, the Causes of Action
and the Covid Test Claims. Debtor reserves the ability to assert the Causes of
Action and the Covid Test Claim that are not listed herein or in the Exhibit to the
Plan Supplement.
                                         47


23-43403-mlo     Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30     Page 47 of 79
      Debtor is in the process of undertaking an avoidance action analysis and
reserves the right for the Liquidating Trustee to assert such Causes of Action,
including the Covid Test Claims, that it determines to be in the best interests of the
Estate and the Liquidating Trust. Debtor and the Committee are reviewing
potential causes of action by the Estate, and potential Claims against the Estate,
including the following:

         1. Those claims listed in the avoidance action analysis that Debtor
            has reserved the ability to file as a Plan Supplement;

         2. Prepetition, in January 2021, the membership interests of Nameer
            Kiminaia Living Trust dated May 31, 2019 (“NK RLT") and
            Brian Tierney, Trustee of the Tierney Family Trust Dated
            December 21, 2018 ("BT RLT") were redeemed pursuant to the
            Membership        Interest    Redemption      Agreement        (the
            “Redemption”). In addition, as part of this redemption, the
            Debtor sold the name, ION Diagnostics, LLC, one of the names
            under which it had been operating, to Nameer Kiminaia and
            Brian Tierney (the “Name Transfer”). The Committee and the
            Debtor are investigating whether the Redemption and the Name
            Transfer are avoidable transfers under various theories, including
            11 U.S.C. sections 544(b) and 548 and/or whether there are any
            other Causes of Action resulting from the Redemption or the
            Name Transfer;

         3. Potential litigation to recover amounts owed by third party
            insurers, including governmental insurers, relating to the Covid
            Test Claims;

         4. Potential claims against Diesel in connection with funds
            advanced to the Debtor prior to the Petition Date, and paid from
            the Debtor’s funds;

         5. Those claims listed, or to be listed, in the exhibit to the Plan and
            in the Plan Supplement;



                                            48


23-43403-mlo    Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 48 of 79
        6. Claims regarding the administrative freeze by the United States
           of America (“USA”) for claims that have been asserted, and that
           may be asserted, by the USA.

           As of the date of the Disclosure Statement, the USA disclosed to
           Debtor and the Committee it is withholding proceeds in the
           amount of $184,494 of accounts receivable that were otherwise
           due to the Debtor prepetition, as further described below. The
           USA believes that its actions are lawful, and the Committee and
           Debtor are investigating the Estate’s rights regarding the
           transactions.

           The accounts receivable attributed to the USA arose out of the
           Debtor’s laboratory testing services it provided prior to and as of
           the Petition Date, as a Medicare Part B provider, pursuant to the
           provisions, regulations, policies, and procedures promulgated
           under Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395
           et. seq. (collectively, the “Medicare Statute”), administered by
           CMS, a component of the United States Department of Health
           and Human Services. As a supplier, the Debtor receives
           payments from WPS Government Health Administrators, one of
           the Medicare Administrative Contractors (“MACs”) that
           administers the Medicare program on behalf of CMS, for
           providing services to Medicare beneficiaries.

           CMS asserts that Part B suppliers have one year from the date of
           service to submit claims to the MACs, see 42 C.F.R. § 424.44,
           and because Medicare Part B claims are processed and approved
           quickly, CMS maintains that claims are subject to post-payment
           review and reopening. Therefore, according to CMS, because
           overpayments for services may not be determined at least one to
           four years in the future, once the Debtor’s assets are sold,
           payments from which CMS could recoup overpayments may
           cease resulting in a debt being owed to CMS (a “CMS Claim”).

           Also as of the Petition Date, the Debtor was a named defendant
           in a qui tam action in the United States District Court for the
           Eastern District of Michigan and is subject to certain government

                                          49


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 49 of 79
           subpoenas and investigations issued or commenced by the United
           States Department Justice (“DOJ”). The DOJ informed the
           Debtor that it anticipates that the investigations will likely result
           in prepetition debts being owed to the United States that the DOJ
           asserts are non-dischargeable under federal law, including section
           1141(d)(6) of the Bankruptcy Code (the “DOJ Claims”). The
           Debtor disputes the United States’ assertion that the DOJ Claims
           are non-dischargeable and does not stipulate that the USA has a
           claim regarding these matters.

           On May 5, 2023, the IRS filed the IRS Claim against the Debtor
           for prepetition taxes and penalties in the amount of
           $2,010,331.36 [Claim No. 17]. Debtor believes the IRS Claim
           will eventually be reduced to zero once it clarifies the claimed
           outstanding tax returns, however, the IRS Claim remains
           outstanding. Debtor believes that the amounts claimed relate to
           withholding that was paid by a PEO [professional employer
           organization] working on behalf of the Debtor, and thus that the
           amounts requested in the IRS claim have already been paid. As
           for the DOJ Claims and CMS Claim, because the governmental
           unit bar date falls on a federal holiday, the date by which
           governmental units must file claims is Tuesday, October 9, 2023.
           See 11 U.S.C. §502(b)(9); Fed.R.Bankr.P. 9006(a)(1)(C).

           The DOJ contacted the Debtor asserting that any payments or
           monies due to the Debtor for Medicare services provided before
           the Petition Date (“CMS Prepetition Payments”) may be
           recouped by CMS or offset against any prepetition debt owed to
           the United States, including the IRS Claim and the potential DOJ
           Claims.

           The DOJ requested that the Debtor provide adequate protection
           to the United States for use of its alleged cash collateral. Since
           the DOJ made its request for adequate protection, the USA,
           Debtor and Committee have had on-going discussions and
           communications regarding the USA’s setoff rights and potential
           claims against the estate. It is Debtor’s understanding that the
           USA has agreed that, at this time, it will not file a motion to

                                          50


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 50 of 79
                 offset the CMS Prepetition Payments from the IRS Claim or any
                 contingent, disputed, or unliquidated debt, including the DOJ
                 Claims and CMS Claim, that the USA alleges is owed by the
                 Debtor. Instead, the parties will endeavor to consensually resolve
                 each party’s rights, if any, to the CMS Prepetition Payments, and
                 all rights, defenses and arguments of all parties are preserved by
                 the Plan.

        K.       Insurance Coverage

      Pursuant to the terms of the Plan, the Liquidating Trustee may pursue
recovery of covered claims and covered wrongful acts against unexpired directors
and officers liability policies that the Debtor will assume and assign to the
Liquidating Trust as of the Effective Date.

        L.       Proofs of Claim

       The following proofs of Claim have been filed as of the date of the
Disclosure Statement. The parties do not stipulate as to the allowance of these
claims and will undertake an analysis as to whether objecting to any of these claims
is appropriate.

Claim #               Amount           Date filed Creditor     Creditor name
                      claimed *                   number

    1     View        $11028.70        04/14/20   27640961     Staples, Inc.
                                       23

    2     View        $2915.32         04/17/20   27642990     Uline
                                       23

    3-2 View          $243328.93       06/27/20   27641467     Labcorp
                                       23

    4     View        $76394.84        04/24/20   27650531     Claire Ann Richman
                                       23

    5     View        $57970.00        04/25/20   27641424     Davis Wright Tremaine LLP
                                       23

    6     View        $729.63          04/26/20   27653607     Clean Air Testing, LLC
                                       23

                                                    51


23-43403-mlo        Doc 249        Filed 09/19/23     Entered 09/19/23 00:19:30         Page 51 of 79
   7    View    $62554.91       04/26/20   27653769    Wells Fargo Financial Leasing, Inc.
                                23

   8    View    $7500.00        04/27/20   27654595    JSW Consulting LLC
                                23

   9    View    $99.13          04/27/20   27654802    Bio-Rad Laboratories, Inc.
                                23

   10-2 View    $32944.59       09/01/20   27654894    UnitedHealthcare Insurance Company
                                23

   11   View    $57692.31       04/28/20   27656350    Rachel Brown
                                23

   12   View    $17315.50       04/28/20   27658792    Axiom Diagnostics, inc.
                                23

   13   View    $3315.98        05/01/20   27659542    Brehob Corporation
                                23

   14   View    $1873.87        05/04/20   27662140    Change Healthcare
                                23

   15   View    $6410750.83     05/04/20   27662297    Comerica Bank
                                23

   16   View    $8482.00        05/05/20   27641393    Benkoff Health Law, PLLC
                                23

   17   View    $2010331.36     05/05/20   27661216    INTERNAL REVENUE SERVICE
                                23

   18   View    $8412.26        05/11/202 27641391     BCC Distribution, Inc.
                                3

   19   View    $56956.72       05/12/20   27670105    Chris Pittenturf
                                23

   20-2 View    $5437.00        06/13/20   27670161    Superior Medical Waste Disposal, LLC
                                23

   21   View    $13453.56       05/12/20   27670658    Dell Marketing L.P.
                                23

   22   View    $12862.50       05/16/20   27641522    Seyburn Kahn Attorneys & Counselors
                                23



                                             52


23-43403-mlo   Doc 249      Filed 09/19/23    Entered 09/19/23 00:19:30          Page 52 of 79
   23-2 View    $231210.94       05/17/20   27641369    6600 Highland, LLC
                                 23

   24   View                     05/17/20   27675054    Hartford Fire Insurance Company
                                 23

   25   View    $272679.09       05/17/20   27675096    Medical Real Estate Group, LLC
                                 23

   26   View    $18000.00        05/18/20   27641493    Michigan Legislative Consultants, Inc.
                                 23

   27   View    $14684.25        05/22/20   27678988    Kerr, Russell and Weber, PLC
                                 23

   28   View    $258577.50       05/22/20   27679594    Diesel Funding, LLC
                                 23

   29   View    $8533.12         05/23/20   27681926    EXAGEN INC.
                                 23

   30   View    $4412.19         05/23/20   27682072    Sigma-Aldrich, Inc
                                 23

   31   View    $5330.30         05/23/20   27641407    Cerilliant Corporation
                                 23

   32   View    $56500.00        06/05/20   27641468    LabPath Consulting
                                 23

   33   View    $42000.00        06/08/20   27696584    Gena's Timeless Cleaning, LLC
                                 23

   34   View    $5964.28         06/09/20   27696695    FISHMAN STEWART PLLC
                                 23

   35   View    $64013.79        06/10/20   27641439    Empirical Biosciences
                                 23

   36   View    $906848.00       06/11/202 27697804     Detroit Pistons Basketball Company
                                 3

   37   View    $4307.50         06/12/20   27698308    HealthCare Appraisers, Inc.
                                 23

   38   View    $4929.46         06/12/20   27641389    AVL-Creative
                                 23



                                              53


23-43403-mlo   Doc 249       Filed 09/19/23    Entered 09/19/23 00:19:30         Page 53 of 79
   39   View    $13941.00        06/12/20   27641491    Mercedes Scientific
                                 23

   40   View    $3405.00         06/15/20   27641547    UHY, LLP
                                 23

   41   View    $12171.51        06/16/20   27704494    DTE ENERGY
                                 23

   42   View    $412.50          06/21/20   27641442    Ferrellgas
                                 23

   43   View    $2900.00         06/22/20   27641406    Cerbo, LLC
                                 23

   44   View    $214601.51       06/28/20   27713590    Hogan Lovells US LLP
                                 23

   45   View    $236941.46       06/28/20   27713788    McLaren Health Management Group
                                 23

   46   View    $6970.00         06/29/20   27716894    Polar Ice Co.
                                 23

   47   View    $1250.80         07/05/20   27641444    Fire Alarm Services
                                 23

   48   View    $885000.00       07/05/20   27641373    Advancing Health Inc.
                                 23

   49   View    $7043.29         07/06/20   27721557    Robert G. Read
                                 23

   50   View    $49307.76        07/11/202 27726355     Mark C. Beauchamp
                                 3

   51   View    $46324.45        07/14/20   27730363    Abbott Diagnostics Division
                                 23

   52   View    $180266.91       07/14/20   27730546    Abbott Molecular Division of
                                 23

   53   View    $89500.00        07/17/20   27641503    Orchard Software Corporation
                                 23

   54   View    $165000.00       07/21/20   27641478    Little Sonia Real Estate LLC
                                 23



                                              54


23-43403-mlo   Doc 249       Filed 09/19/23    Entered 09/19/23 00:19:30         Page 54 of 79
   55   View    $100421.60       07/25/20   27641476    Lippitt O'Keefe, PLLC
                                 23

   56   View    $14834.69        07/27/20   27742695    Labtek, Inc.
                                 23

   57   View    $15005.89        07/31/20   27745590    Younis Enterprises, LLC
                                 23

   58   View    $1234050.00      08/01/20   27748699    Gemini Lab Group, LLC
                                 23

   59   View    $29400.00        08/03/20   27641489    MedMatch
                                 23

   60   View    $23728.89        08/11/202 27641536     Team Financial Group
                                 3

   61   View    $45416.59        08/11/202 27641536     Team Financial Group
                                 3

   62   View    $232683.65       08/11/202 27641536     Team Financial Group
                                 3

   63   View    $18363.87        08/11/202 27641536     Team Financial Group
                                 3

   64   View    $42992.49        08/11/202 27641536     Team Financial Group
                                 3

   65   View    $43027.36        08/11/202 27641536     Team Financial Group
                                 3

   66   View    $203801.63       08/11/202 27641536     Team Financial Group
                                 3

   67   View    $267677.69       08/11/202 27641536     Team Financial Group
                                 3

   68   View    $194504.75       08/11/202 27641536     Team Financial Group
                                 3

   69   View    $36019.73        08/11/202 27641536     Team Financial Group
                                 3

   70   View    $26315.52        08/11/202 27641536     Team Financial Group
                                 3



                                              55


23-43403-mlo   Doc 249       Filed 09/19/23    Entered 09/19/23 00:19:30          Page 55 of 79
   71   View    $1707.66         08/11/202 27641536     Team Financial Group
                                 3

   72   View    $13500.00        08/14/20   27641421    Darren Cain
                                 23

   73   View    $26381.00        08/15/20   27762006    Translational Software Inc
                                 23

   74   View    $2676.00         08/16/20   27762835    Detroit Technical Equipment Co.
                                 23

   75-2 View    $30012.01        08/16/20   27763370    Cardinal Health 200, LLC
                                 23

   76   View    $610147.04       08/17/20   27764652    Medspeed LLC
                                 23

   77   View    $21478.62        08/17/20   27764825    First Insurance Funding, a Division of Lake
                                 23                     Forest

   78   View    $29321.93        08/18/20   27765191    United of Omaha Life Insurance Co.
                                 23

   79   View    $1111587.85      08/21/20   27766472    Coronis Health RCM, LLC
                                 23

   80   View    $62030.93        08/21/20   27766848    Fisher Healthcare, a division of Fisher
                                 23                     Scientific

   81   View    $56539.92        08/21/20   27767084    Microgenics, Inc.
                                 23

   82   View    $3900.00         08/21/20   27641512    Predictive Health Diagnostics, Inc.
                                 23

   83   View    $14940749.14     08/21/20   27767530    Auxo Investment Partners LLC
                                 23

   84   View    $122715.36       08/21/20   27641456    Henry Schein
                                 23

   85   View    $2629000.00      08/31/20   27641540    The Sports Marketing Agency, INC
                                 23

   86   View    $914.84          09/06/20   27641494    Microbiologics
                                 23



                                              56


23-43403-mlo   Doc 249       Filed 09/19/23    Entered 09/19/23 00:19:30          Page 56 of 79
       M.    Insider Transactions

      Following the Petition Date, there have been no insider transactions except
for payment of compensation to Mr. Grossi for his post-petition services to the
Debtor through mid-August 2023. Postpetition, the Debtor compensated Mr.
Grossi in the total amount of $40,383.68 for his postpetition services.


      III. ASSETS AND LIABILITIES

       A.    Liquidation Analysis

      Debtor(s)’ Liquidation Analysis is attached to the Disclosure Statement as
Exhibit D.

       In the event that the Plan is not accepted by the Creditors or is not otherwise
confirmed by the Bankruptcy Court, Debtor believes that its assets would be
liquidated in a straight bankruptcy liquidation under Chapter 7 of the Code, with no
distribution to general unsecured creditors.

       B.    Risks, Conditions and Assumptions In Liquidation Analysis

      Debtor valued its assets based on the filed schedules. Risks, conditions and
assumptions are outlined in the Liquidation Analysis.

       C.    Causes of Action

       Debtor or the Liquidating Trustee will conduct an avoidance action analysis
to determine if any suitable actions exist and will also continue to litigate the
Allowance of the Claims and the administrative expense Claims. Debtor reserves
the ability to file a preliminary analysis as a Plan Supplement.

       D.    Priority and Secured Claims and Administrative Expenses

       There are approximately $22,901,532.00 in Secured Claims and $162,000.00
in Priority Claims that have been asserted against the Debtor, without taking into
account any deficiency Claims for undersecured Claims, or the IRS Claim or
potential offset/recoupment claims by the USA. It is estimated that the amount of

                                            57


 23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 57 of 79
unpaid Administrative Expenses is $1,770,477, plus Accrued Professional Fees for
which no fee applications have yet been filed (but for which Auxo has agreed to
provide a Professional Fee Carveout in the aggregate amount of $600,000, with
$350,000 being provided to the Committee’s Retained Professionals and $250,000
being provided to the Debtor’s Retained Professionals).

      E.    Unsecured Claims

       There are approximately $8,993,187.00 in scheduled general Unsecured
Claims that have been asserted against Debtor, without taking into account
deficiency claims of Secured Creditors.

      F.    Guaranteed Debt

      The following obligations of the Debtor were guaranteed by Mr. Grossi as
indicated below: a. the commercial real estate lease of between the Debtor and its
landlord, Medical Real Estate Group, LLC and 6600 Highland LLC; b. the
Debtor’s secured loan by Comerica Bank, N.A. (“Comerica”).

      Debtor did not guarantee any obligations of third parties.

      IV.   IMPLEMENTATION OF PLAN

      A.    Summary of Plan Payments

      See Articles II and III of the Plan filed with this Disclosure Statement.

      B.    Financial Information

       The information contained in this Disclosure Statement has not been subject
to a certified audit. The information has been compiled from the records of Debtor
and is true and accurate to the best of Debtor’s knowledge, information and belief.

       Accompanying the Plan is a summary of Debtor’s financial information
relating to the Debtor’s post-petition operations.

       Accompanying the Plan is a summary of Debtor’s financial condition prior
to the Petition Date.

                                           58


23-43403-mlo   Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30   Page 58 of 79
      Because Debtor will cease to continue to operate, no projections are
attached.

      C. Post-Confirmation Details

      The Liquidating Trustee shall administer the assets remaining in the Debtor
on the Confirmation Date.

      D.    Tax Ramifications

      1.    To Debtor

      Debtor has retained professionals to make this determination.

     2.     To Creditors

      The tax consequences to each Creditor resulting from confirmation of the
Plan may vary depending upon each Creditor’s particular circumstances. Debtor
recommends that creditors or holders of Claims obtain independent tax counsel to
advise them as to the tax consequences of the Plan.

            V.     LEGAL REQUIREMENTS

            A.     Voting procedures

            Under the Bankruptcy Code, the only Classes that are entitled to vote
      to accept or reject a Plan are classes of Claims, or Equity Interest that are
      impaired under the Plan. Accordingly, Classes of Claims or Interests that are
      not impaired are not entitled to vote on the Plan.

             Creditors that hold Claims in more than one impaired Class are
      entitled to vote separately in each Class. Such a Creditor will receive a
      separate ballot for all of its Claims in each class (in accordance with the
      records of the Clerk of the Court) and should complete and sign each ballot
      separately. A Creditor who asserts a Claim in more than one Class and who
      has not been provided with sufficient ballots may photocopy the ballot
      received and file multiple ballots.

                                            59


23-43403-mlo     Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 59 of 79
           Votes on the Plan will be counted only with respect to Claims:

           (1) that are listed on the Debtor’s Schedules other than as disputed,
     contingent or unliquidated; or

           (2) for which a proof of Claim was filed on or before the bar date set
     by the Court for the filing of proofs of Claim (except for certain claims
     expressly excluded from that bar date or which are allowed by Court order).

           However, any vote by a holder of a Claim will not be counted if such
     Claim has been disallowed or is the subject of an unresolved objection,
     absent an order of the Court allowing such claim for voting purposes
     pursuant to 11 U.S.C. § 502 and Bankruptcy Rule 3018.

            Voting on the Plan by each holder of a Claim or Interest in an
     impaired class is important. After carefully reviewing the Plan and
     Disclosure Statement, each holder of such a Claim or Interest should vote on
     the enclosed ballot either to accept or to reject the Plan, and then return the
     ballot by mail to the Debtor’s attorney by the deadline previously established
     by the Court.

            Any ballot that does not appropriately indicate acceptance or rejection
     of the Plan will not be counted.

           A ballot that is not received by the deadline will not be counted.

           If a ballot is damaged, lost, or missing, a replacement ballot may be
     obtained by sending a written request to the Debtor’s attorney.

           B.     Acceptance

            The Bankruptcy Code defines acceptance of a Plan by an impaired
     Class of Claims as acceptance by the holders of at least two thirds (2/3’s) in
     dollar amount, and more than one half (50%) in number, of the Claims of
     that Class which actually cast ballots. The Bankruptcy Code defines
     acceptance of a Plan by an impaired Class of Equity Interests as acceptance
     by holders of at least two thirds (2/3’s) in number of the Equity Interests of

                                           60


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 60 of 79
     that Class that actually cast ballots. If no Creditor or Interest holder in an
     impaired Class votes, then that Class has not accepted the Plan, in which
     case, the Debtor will seek to confirm the Plan under Section 1129(b) of the
     Bankruptcy Code.

           C.     Confirmation

           Section 1129(a) of the Bankruptcy Code establishes conditions for the
     confirmation of a Plan. These conditions are too numerous and detailed to
     be fully explained here. Parties are encouraged to seek independent legal
     counsel to answer any questions concerning the Chapter 11 process.

           Among the several conditions for confirmation of a Plan under 11
     U.S.C. § 1129(a) are these:

            1.    Each class of impaired creditors and interest must accept the
     Plan, as described in paragraph VI.B., above.

           2.    Either each holder of a claim or interest in a class must accept
     the Plan, or the Plan must provide at least as much value as would be
     received upon liquidation under Chapter 7 of the Bankruptcy Code.

           D.     Modification

           The Debtor reserves the right to modify or withdraw the Plan at any
     time before confirmation.

           E.     Effect of confirmation

           If the Plan is confirmed by the Court:

           1.     Its terms are binding on the Debtor, all Creditors, Equity
     Holders and other parties in interest, regardless of whether they have
     accepted the Plan;

           2.     Except as provided in the Plan:



                                           61


23-43403-mlo    Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 61 of 79
            (a)     In the case of a corporation that is reorganizing and continuing
      business:

            (i)     All claims and interests will be discharged;

             (ii) Creditors and shareholders will be prohibited from asserting
      their claims against or interest in the Debtor or its assets.

            (b) In the case of a corporation that is liquidating and not
      continuing its business:

            (i)     Claims and interests will not be discharged.

             (ii) Creditors and shareholders will not be prohibited from asserting
      their claims against or interests in the Debtor or its assets.

            (c)     In the case of an individual or husband and wife:

            (i)    Claims will be discharged, except as provided in 11 U.S.C. §§
      523 and 727(a). Unless the Court orders otherwise, the discharge will be
      entered after completion of Plan payments as provided in § 1141(d)(5)(a). It
      is the usual practice of the Court to close Chapter 11 cases after
      confirmation. It is the responsibility of the individual Debtor to file a
      motion to reopen the case for entry of discharge upon completion of Plan
      payments.

             (ii) Creditors will be prohibited from asserting their claims except
      as to those debts which are not discharged or dischargeable under 11 U.S.C.
      §§ 523 and 727(a).

      The Plan provides for the entity’s liquidation pursuant to the terms of the
Liquidating Trust Agreement and therefore, claims against the Debtor will not be
discharged.
                              DEBTOR

                                  By:   ____/s/James Grossi____________
                                        James Grossi, CEO and Managing
                                        Member

                                             62


23-43403-mlo      Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 62 of 79
Prepared By:

By: /s/ Robert N. Bassel
Robert N. Bassel (P 48420)
Attorneys for Debtor
P.O. Box T
Clinton, MI 49236
248.677.1234




                                          63


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 63 of 79
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                    Case No. 23-43403-mlo
                                                        Chapter 11
          Debtor.                                       Hon, Maria L. Oxholm
____________________________________/

            BALLOT FOR ACCEPTING OR REJECTING
     DEBTOR’S COMBINED DISCLOSURE STATEMENT AND PLAN

       Debtor has filed a Combined Disclosure Statement (the “Disclosure
Statement”) and Plan of liquidation, as amended (the “Plan”) for the Debtor
in this Chapter 11 Case.

      You should review the Disclosure Statement and the Plan before you
vote. You may wish to seek legal advice concerning the Disclosure Statement
and Plan and your classification and treatment under the Plan.

      To have your vote count, you must complete and send this ballot to
Robert Bassel, P.O. Box T, Clinton, MI 49236 by email at bbassel@gmail.com
or fax at 248 928 0656 on or before _____________- unless extended. If the
Plan is confirmed by the Bankruptcy Court it will be binding on you, whether
or not you vote.

Dated: ___________________

Name of Entity and Signature: __________________________________

Amount of Claim or Interest: _____ ____________

____ Accept              _____ Reject

RETURN THIS BALLOT TO: Robert Bassel, P.O. Box T, Clinton, MI 49236, (248) 677-1234
bbassel@gmail.com or via Facsimile (248) 928-0656
                           EXHIBITS TO THE PLAN

                                             64


23-43403-mlo     Doc 249    Filed 09/19/23    Entered 09/19/23 00:19:30     Page 64 of 79
EXHIBIT A: LIQUIDATING TRUST AGREEMENT


EXHIBIT B: NON-EXCLUSIVE LIST OF CAUSES OF ACTION AND
AVOIDANCE ACTIONS


EXHIBIT C: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
TO BE ASSUMED AND ASSIGNED TO THE LIQUIDATING TRUSTEE


EXHIBIT D: LIQUIDATION ANALYSIS


EXHIBIT E: PREPETITION FINANCIALS


EXHIBIT F: POSTPETITION FINANCIALS


NOTE:       To the extent that the foregoing Exhibits are not annexed to this
Plan, such Exhibits will be filed with the Bankruptcy Court in Plan
Supplement(s).




                                          65


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 65 of 79
                                  EXHIBIT A

                  LIQUIDATING TRUST AGREEMENT




                                          66


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 66 of 79
                                  EXHIBIT B

                 NON-EXCLUSIVE LIST OF CAUSES OF
                  ACTION AND AVOIDANCE ACTIONS




                                          67


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 67 of 79
                                  EXHIBIT C

 EXECUTORY CONTRACTS TO BE ASSUMED BY THE DEBTOR AND
         ASSIGNED TO THE LIQUIDATING TRUSTEE




                                          68


23-43403-mlo   Doc 249   Filed 09/19/23    Entered 09/19/23 00:19:30   Page 68 of 79
Exhibit D LIQUIDATION ANALYSIS AS OF PETITION DATE – April 12, 2023
ARK LABORATORY, LLC

COLLATERAL       SECURED CREDITOR          MARKET              APPROXIMAT         EQUITY USING FORCED
                                           VALUE/              E AMOUNT OF        SALE VALUE
                                           FORCED SALE         SECURED
                                           VALUE1              CLAIMS

Real Estate      n.a.                      n.a.                n.a.               n.a.
Cash             Auxo Investment           $101,027            $22,901,532        $0
                 Partners
Accounts         Auxo Investment           $7,490,816/         $22,901,532        $0
Receivable       Partners/USA              1,872,704           [an amount
                 [there is a dispute                           no less than]
                 as to the priority
                 and extent of any
                 USA lien on
                 receivables]
Inventory        Auxo Investment           $581,697/           $22,901,532        $0
                 Partners                  100,000

Furniture,       Auxo Investment           $2,437,242/         $22,901,532        $0
Fixtures         Partners                  487,448
and
Equipment
Leaseholds       Auxo Investment           $479,657/           $22,901,532        $0
and Misc.        Partners                  0
Covid            Auxo Investment           $4,000,000**/       $22,901,532        $0
Testing          Partners/USA              2,000,000**         [an amount
Claims           [there is a dispute                           no less than]
                 as to the priority
                 and extent of any
                 USA lien on these
                 claims]
Avoidance                                  Unknown             $0                 Unknown
Actions
TOTAL                                      $11,028,946/                           $0
                                           4,561,179


1
  Unless otherwise stated, values are not based upon appraisals and are estimated. The receivables are
“medical receivables”, which are difficult to collect if Debtor were liquidated, and the liquidation value
reflects this difficulty in collections. Because of the type of entity that the Debtor is, there is a significant
risk that the liquidation value of the Debtor’s assets would be minimal.

** The value of the Covid testing claims is unknown, however, Debtor believes that it is at least $4 million
and is using that number for liquidation analysis purposes.


23-43403-mlo       Doc 249     Filed 09/19/23      Entered 09/19/23 00:19:30        Page 69 of 79
Post-Petition Liabilities
     Chapter 11 Administrative Claims [estimated]:                      $ 1,770,477

      Chapter 7 Administrative Claims [estimated]:                      $    350,000


Pre-Petition Liabilities

      Secured Claims:                                                   $22,901,532


      Anticipated Priority Claims                                       $    162,548


      General Unsecured Claims from bankruptcy schedules:               $ 8,993,187


Distribution of Proceeds of Assets in Event of Chapter 7 Liquidation
​Gross Proceeds from Liquidation:                   $ 4,561,179
 ​
       ● Less Total of:
       -- Secured Claims:                           $ 22,901,532
       -- Priority Claims:                          $ 162,548
       ● Less Total of:
       -- Admin. Expenses:                          $2,120,477

                                                           ____________

          TOTAL:                                           $0

      TOTAL for unencumbered assets
      available to unsecured creditors                     $0


      ●     Total Unsecured Claims                                      $8,993,187

      ● Percent Available to Pre-Petition
        Unsecured Creditors                                             0%


      ● Proceeds Available for Equity Interests:                        residual




23-43403-mlo   Doc 249     Filed 09/19/23   Entered 09/19/23 00:19:30   Page 70 of 79
Based upon the Liquidation Analysis set forth above, the Debtor believes that a liquidation
would result in a substantially smaller distribution to every class of its creditors than the
proposed treatment set forth in the Plan.




23-43403-mlo    Doc 249    Filed 09/19/23   Entered 09/19/23 00:19:30   Page 71 of 79
                                            EXHIBIT E PREPETITION
                                            FINANCIALS
                                                     Jan - Dec                                             Jan 1 - Apr 12,
Ark Laboratory Prepetition Financials                  2020         Jan - Dec 2021     Jan - Dec 2022           2023               Total
Income
 40000 Sales                                        32,168,395.38     46,075,178.76        23,593,589.65       5,321,791.00    107,158,954.79
   40050 Sales - COVID                               4,395,677.66      2,192,322.65           91,677.31          69,164.08       6,748,841.70
 Total 40000 Sales                                 $36,564,073.04   $ 48,267,501.41    $   23,685,266.96   $   5,390,955.08   $113,907,796.49
 40100 Refunds-Allowances                              -45,028.43        -57,912.19              -300.00                          -103,240.62
 41000 Uncategorized Income                            24,885.74           5,397.28              420.56                             30,703.58
 42500 Sales of Product Income                                                                16,621.39                             16,621.39
 Unapplied Cash Payment Income                               0.00           400.00              1,595.00              0.00           1,995.00
Total Income                                       $36,543,930.35   $ 48,215,386.50    $   23,703,603.91   $   5,390,955.08   $113,853,875.84
Gross Profit                                       $36,543,930.35   $ 48,215,386.50    $   23,703,603.91   $   5,390,955.08   $113,853,875.84
Expenses
 50020 Freight & delivery - COS (deleted)                7,941.10          9,906.26                                                 17,847.36
 50030 Purchases - COS                                                                             0.00                                    0.00
 50040 Supplies & Materials - COGS (deleted)           91,804.31           1,254.62                                                 93,058.93
 50045 Credit Card Fees                                                   32,797.47           14,263.37           3,198.54          50,259.38
 50060 Cost of labor - COS                                             6,873,368.07                                              6,873,368.07
 50250 Auto                                                26.00        135,003.75               397.75             123.77        135,551.27
 50255 Parking                                            122.16            525.00               594.88                              1,242.04
 50260 Car Rental                                                          1,645.50             3,666.29            543.85           5,855.64
 50265 Taxi                                                                 334.36                25.15                               359.51
 50300 Advertising                                       8,563.14        21,749.50               588.00                            30,900.64
 50320 Application Fees                                    10.00                                                                       10.00
 50500 Bank Charges                                    16,068.20         28,559.33            30,490.08          28,670.65        103,788.26
 50600 Bad Debts                                                                                 156.15                               156.15
 50750 Charitable Donations                              2,000.00       102,295.00            37,435.97                           141,730.97
 51000 Courier Fee                                     41,200.00         51,000.00            20,500.00                            112,700.00
 51250 Marketing Fees                                3,163,527.00      6,655,648.00        5,187,256.57         698,000.00      15,704,431.57
 51500 Computer Services                              288,575.73        582,864.22           113,937.09                           985,377.04
 51510 IT Hardware                                                         1,955.56          107,421.14           3,231.96         112,608.66
 51600 Contract Labor                                  23,408.00        105,582.64           122,934.19          21,362.60        273,287.43
 51750 Credentialing                                   20,104.05         10,143.20                                                 30,247.25



                             23-43403-mlo       Doc 249       Filed 09/19/23          Entered 09/19/23 00:19:30               Page 72 of 79
                                                  Jan - Dec                                             Jan 1 - Apr 12,
Ark Laboratory Prepetition Financials               2020         Jan - Dec 2021      Jan - Dec 2022          2023               Total
 51800 Fuel/Mileage                                   2,622.16         13,685.15          305,525.33          1,624.55         323,457.19
 51850 Disposal Fees                                  1,845.50         14,689.38                                                16,534.88
 51900 Dues & Subscriptions                              23.98         26,235.50           20,382.12          4,957.92          51,599.52
 52000 External Labor                                 8,081.00                                                3,111.36           11,192.36
 52100 EMR                                             609.96                                                                      609.96
 52150 Equipment Validation                         29,849.87          27,247.57            5,064.84          1,097.82          63,260.10
 52200 Insurance                                      2,972.40                                                                    2,972.40
 52210 Insurance - Disability                       10,669.73           2,125.67            -7,507.38        -3,772.78            1,515.24
 52215 Workers Comp                                                   110,906.48           90,809.56         31,071.06         232,787.10
 52220 Insurance - Liability                        22,227.98          12,646.32           59,324.43         84,822.92         179,021.65
 52221 Insurance - Property                                                                74,292.00                            74,292.00
 52223 Insurance - Employee Portion                                  -318,615.04         -388,390.56        -57,246.08        -764,251.68
 52224 Insurance - Cyber                                                                   11,679.45                             11,679.45
 52250 Insurance - Health                          490,301.87        1,047,668.69         996,723.09        173,523.04        2,708,216.69
 52275 Insurance - D & O                                               54,028.00            6,368.00                            60,396.00
 52300 Insurance - Life/AD&D/Dental/Vision                             79,440.77          157,411.89         18,579.01         255,431.67
 52500 Insurance - Life                            165,464.26         142,658.24           54,553.18         20,388.61         383,064.29
 52750 Interest Expense                             110,022.23       1,875,282.95        2,209,342.39       792,486.29        4,987,133.86
 52900 De minimus Asset Purchases                       254.39                                                                     254.39
 52950 Lab Fees                                     87,981.04         183,580.57          201,832.06         74,482.14         547,875.81
 53000 Legal & Professional Fees                                                            4,584.29         24,965.00          29,549.29
   53010 HR Consulting                              58,935.99          81,163.80           25,437.50                           165,537.29
   53030 Outside Legal                             136,343.89         230,261.78          203,054.49        -63,900.00         505,760.16
   53040 IT Consulting                             135,723.66          33,833.44           31,834.00         16,465.00         217,856.10
   53050 Compliance                                   4,413.00         26,249.00           20,666.98          9,252.12          60,581.10
   53060 Outside CPA                                18,122.00          34,435.00           51,071.00         38,910.00         142,538.00
   53090 Outside Consulting                        700,874.85         631,552.13          374,066.47         56,000.00        1,762,493.45
   53095 Pension Plan Administration                                    1,000.00                                                  1,000.00
 Total 53000 Legal & Professional Fees          $ 1,054,413.39   $   1,038,495.15    $    710,714.73    $    81,692.12    $   2,885,315.39
 53250 Licenses & Fees                              15,860.02         112,751.85           40,324.01             25.00         168,960.88



                               23-43403-mlo   Doc 249      Filed 09/19/23           Entered 09/19/23 00:19:30             Page 73 of 79
                                                     Jan - Dec                                              Jan 1 - Apr 12,
Ark Laboratory Prepetition Financials                  2020         Jan - Dec 2021      Jan - Dec 2022           2023               Total
 53260 Licenses & Fees - Infrastructure                                                        52,409.73           9,137.17          61,546.90
 53270 Licenses & Fees - Business Operations                                                   39,914.16          24,680.66          64,594.82
 53280 Licenses & Fees - Lab Operations                                                       763,403.39         138,641.55        902,044.94
 53740 Employee Meals                                                        600.77              9,663.37            350.80          10,614.94
 53741 Holiday Party                                                         200.00              7,403.09                             7,603.09
 53750 Meals and Entertainment                          3,620.21          32,637.58            27,372.89          27,372.10          91,002.78
 53751 Meals                                            1,745.85          32,558.72            36,681.21           9,153.55          80,139.33
 53760 Entertainment                                                     196,132.82           232,162.46            -250.20        428,045.08
 53770 Training/Education                              13,307.67         137,180.58            76,506.00                           226,994.25
 54000 Medical Billing                               1,126,785.97       1,620,522.87          867,518.50         291,000.00       3,905,827.34
 54200 Office Expenses                               1,116,678.22        448,827.80           147,357.34           8,955.03       1,721,818.39
 54210 Other General and Admin Expenses                                     7,347.48            2,585.34                              9,932.82
 54250 Medical Directorship                             9,000.00          43,000.00            41,000.00          12,000.00        105,000.00
 54300 Rent or Lease                                  694,084.04        1,049,971.25          873,773.46         285,098.53       2,902,927.28
 54310 Equipment Lease                                  2,191.13           34,114.51           65,568.12          25,967.38        127,841.14
 54400 Repair & Maintenance                           148,070.89         340,347.04           325,985.65          89,623.83        904,027.41
 54500 Payroll                                                          6,356,025.39          123,509.74         703,239.39       7,182,774.52
   54510 Hourly                                                          181,106.71          5,461,348.30        288,923.41       5,931,378.42
   54520 Salary                                                          218,042.93          7,047,871.31        868,159.00       8,134,073.24
   54525 Shift Dif                                                        63,936.68            64,153.87           2,771.84        130,862.39
   54530 Overtime                                                         17,496.90           287,597.20           4,591.76        309,685.86
   54535 Bonus                                                           147,900.00           582,653.67           4,071.99        734,625.66
   54540 Car Allowance                                                    21,500.00           202,250.00          11,500.00        235,250.00
   54550 Commissions                                   27,250.00                                                                     27,250.00
   54560 Retro Pay                                                                             15,833.29          16,289.13          32,122.42
   54570 Holiday                                                                              271,874.41                           271,874.41
 Total 54500 Payroll                             $     27,250.00    $   7,006,008.61    $   14,057,091.79   $   1,899,546.52   $ 22,989,896.92
 54750 Payroll Fees                                     4,385.28                               19,899.45          11,970.77         36,255.50
 55000 Payroll Taxes                                 -262,265.37            -389.46                                                -262,654.83
   55010 Payroll Taxes - FUTA                                             13,328.88           261,976.80          92,267.70        367,573.38



                            23-43403-mlo       Doc 249        Filed 09/19/23           Entered 09/19/23 00:19:30               Page 74 of 79
                                                    Jan - Dec                                             Jan 1 - Apr 12,
Ark Laboratory Prepetition Financials                 2020         Jan - Dec 2021      Jan - Dec 2022          2023                Total
   55015 SUTA                                                           123,313.47          140,958.44         21,869.30          286,141.21
   55030 Social Security Expense                                        766,405.59          674,127.75                           1,440,533.34
   55040 Medicare Expense                                               198,862.81          162,814.02                            361,676.83
   55100 Payroll Taxes - Unemployment                                                                                                      0.00
    55107 MI Unemployment                                592.34                                                                       592.34
   Total 55100 Payroll Taxes - Unemployment     $        592.34    $           0.00    $           0.00   $         0.00    $         592.34
 Total 55000 Payroll Taxes                      -$ 261,673.03      $   1,101,521.29    $   1,239,877.01   $   114,137.00    $    2,193,862.27
 55210 PEO Costs                                16,261,741.52           141,263.04          118,463.33                          16,521,467.89
 55250 Promotional                                    99,169.23          70,235.65           17,364.00                            186,768.88
 55400 Settlement                                    781,354.00         523,952.90                                               1,305,306.90
 55500 Shipping and delivery expense                 342,010.79         283,864.47          349,509.96        242,234.91         1,217,620.13
 55600 Freight & Delivery (deleted)                      500.00                                                                       500.00
 55650 Recruiting Expense                                               232,165.82          183,002.42         20,847.00          436,015.24
 55700 Specimen Processing                            43,627.00                                                                    43,627.00
 55750 Stationery & Printing                         216,517.08         134,085.91           10,797.70          1,315.45          362,716.14
 55800 Supplies                                     4,941,798.87       7,378,678.10        3,952,816.04       828,346.94        17,101,639.95
 55900 Taxes & Licenses                                                    2,922.14          15,543.14          1,197.42           19,662.70
 56000 Telephone                                        4,523.30         22,966.57           38,453.65          5,632.47           71,575.99
 56250 Travel                                         28,004.91         106,625.50           45,821.91         -1,206.76          179,245.56
 56500 Travel Meals                                                        7,521.53            6,224.70                            13,746.23
 56600 Utilities                                      29,310.66          30,313.15           84,356.27         20,869.40          164,849.48
 56650 Security Alarm                                   9,164.04           7,615.72            2,696.94                            19,476.70
 56700 Cleaning Service                               26,350.40          69,851.54           96,340.00         24,000.00          216,541.94
 56750 Uncategorized Expense                                                842.75           15,538.74                             16,381.49
 56900 Gifts - employee                                                    4,587.82            6,140.88          182.60             10,911.30
 56910 Nondeductible Gifts                                                                       85.20                                 85.20
 56980 Uniforms                                       16,367.32          44,994.45           64,324.40         14,229.11          139,915.28
 57000 Web Hosting                                      5,348.53                                                                     5,348.53
 59988 Waste Management                                 4,838.78         47,007.76           52,436.53         12,154.92           116,437.99
 69000 Unapplied Cash Bill Payment Expense                                  121.77            11,270.00       -11,391.77                   0.00



                             23-43403-mlo     Doc 249        Filed 09/19/23           Entered 09/19/23 00:19:30             Page 75 of 79
                                                  Jan - Dec                                              Jan 1 - Apr 12,
Ark Laboratory Prepetition Financials               2020        Jan - Dec 2021       Jan - Dec 2022           2023                 Total
 71000 941 Pentalties                                                 34,391.45                                                    34,391.45
 99900 Ask my Accountant                             5,526.15               0.00                                                     5,526.15
 99999 Expense Reports                                               222,643.02            359,696.68          115,578.51         697,918.21
Total Expenses                                $31,368,148.28    $ 40,455,082.11     $    34,505,171.22   $    6,203,349.24   $112,531,750.85
Net Operating Income                          $ 5,175,782.07    $   7,760,304.39    -$ 10,801,567.31     -$    812,394.16    $   1,322,124.99
Other Income
 52800 Interest Earned                                146.30             409.22                 26.91                0.04             582.47
 90001 Forgiveness of Debt Income                 742,972.28                                                                      742,972.28
Total Other Income                            $    743,118.58   $        409.22     $           26.91    $           0.04    $    743,554.75
Other Expenses
 54100 Depreciation                               180,968.00         721,602.70            859,406.70          218,026.02        1,980,003.42
 57250 Miscellaneous                                                  50,000.00                                    -25.88          49,974.12
 57300 Amortization Expense                          5,000.00          -5,000.00                 0.00                                      0.00
 58000 Transaction Costs                                             877,400.00                                                   877,400.00
 60000 Fixed Asset Disposals Gain or Loss                            187,063.91                                                   187,063.91
 75000 Income Tax Expense                                                                  135,300.00                             135,300.00
Total Other Expenses                          $   185,968.00    $   1,831,066.61    $      994,706.70    $     218,000.14    $   3,229,741.45
Net Other Income                              $   557,150.58    -$ 1,830,657.39     -$     994,679.79    -$    218,000.10    -$ 2,486,186.70
Net Income                                    $ 5,732,932.65    $   5,929,647.00    -$ 11,796,247.10     -$ 1,030,394.26     -$ 1,164,061.71




                           23-43403-mlo     Doc 249       Filed 09/19/23           Entered 09/19/23 00:19:30                 Page 76 of 79
                                         EXHIBIT F POSTPETITION
                                         FINANCIALS

Ark Laboratory Postpetition Financials
                                                     Apr 13-30,
                                                       2023            May 2023         Jun 2023         Jul 2023         Aug 2023           Total
Income
 40000 Sales                                         730,929.94     1,509,141.25        981,967.76       637,471.61       664,318.89       4,523,829.45
Total Income                                     $ 730,929.94      $1,509,141.25    $ 981,967.76     $ 637,471.61     $ 664,318.89     $   4,523,829.45
Gross Profit                                     $ 730,929.94      $1,509,141.25    $ 981,967.76     $ 637,471.61     $ 664,318.89     $   4,523,829.45
Expenses
 50045 Credit Card Fees                                   29.85           651.86           931.56           603.71           778.98           2,995.96
 50500 Bank Charges                                    3,012.96          4,123.31         2,545.88         1,486.95         2,041.28         13,210.38
 50650 Background Checks                                                     0.00                                                                    0.00
 51000 Courier Fee                                                     104,506.00        45,950.00        45,668.90        48,310.00        244,434.90
 51250 Marketing Fees                                 62,500.00        171,750.00       146,000.00        61,000.00       129,000.00        570,250.00
 51510 IT Hardware                                                        396.27                            178.67                              574.94
 51600 Contract Labor                                                    2,423.20                                           4,158.36          6,581.56
 51800 Fuel/Mileage                                    2,907.71          5,706.20         2,543.31         2,447.07         3,036.90         16,641.19
 51900 Dues & Subscriptions                                                                                                 2,990.00          2,990.00
 52200 Insurance                                                                                                           -3,539.16          -3,539.16
 52210 Insurance - Disability                          -1,617.60        -1,397.27        -1,708.21        -1,322.62        -1,346.94          -7,392.64
 52215 Workers Comp                                                      5,912.06                                          14,467.46         20,379.52
 52220 Insurance - Liability                          -10,596.00        16,822.50         7,379.48         8,434.44        13,258.97         35,299.39
 52223 Insurance - Employee Portion                   -14,878.14       -16,685.63       -15,627.87       -12,566.12       -15,107.93         -74,865.69
 52250 Insurance - Health                                               63,045.08          155.00        -11,425.47                          51,774.61
 52300 Insurance - Life/AD&D/Dental/Vision                               9,209.89        14,365.11                          6,569.35         30,144.35
 52500 Insurance - Life                                 -678.16           -541.51          -656.81          -539.23          -567.13          -2,982.84
 52750 Interest Expense                              196,292.79        252,668.74         7,122.67         7,122.67         7,122.67        470,329.54
 52756 Interest Paid - Huntington                          -0.17                                                                                  -0.17
 52950 Lab Fees                                                         37,245.00         7,500.00         5,412.50         3,187.50         53,345.00
 53000 Legal & Professional Fees                                                                                                                     0.00
   53030 Outside Legal                                                                                     5,000.00                           5,000.00
   53040 IT Consulting                                                                                     2,148.00         1,726.00          3,874.00
   53050 Compliance                                                      3,114.00          721.60                           1,415.60          5,251.20
 Total 53000 Legal & Professional Fees           $         0.00    $     3,114.00   $      721.60    $     7,148.00   $     3,141.60   $     14,125.20



                               23-43403-mlo    Doc 249        Filed 09/19/23            Entered 09/19/23 00:19:30               Page 77 of 79
Ark Laboratory Postpetition Financials
                                                     Apr 13-30,
                                                       2023            May 2023         Jun 2023         Jul 2023         Aug 2023           Total
 53250 Licenses & Fees                                                    774.15                                             100.00             874.15
 53260 Licenses & Fees - Infrastructure                                  2,011.51         2,268.46         2,228.64         6,013.97         12,522.58
 53270 Licenses & Fees - Business Operations           1,580.78          4,068.77         7,196.22         1,815.94        22,415.39         37,077.10
 53280 Licenses & Fees - Lab Operations                                   -657.00        20,924.25         4,275.00        54,635.43         79,177.68
 53750 Meals and Entertainment                         1,264.82          4,525.73         8,521.54         3,581.92         6,912.65         24,806.66
 53751 Meals                                             794.41           287.72          5,286.05         1,722.48          330.56            8,421.22
 53760 Entertainment                                   2,101.27                                               95.00                            2,196.27
 54000 Medical Billing                                26,220.00        103,772.00        14,000.00        25,000.00        20,000.00        188,992.00
 54200 Office Expenses                                   182.28           913.00           546.79          1,981.97         1,293.87           4,917.91
 54250 Medical Directorship                                                  0.00         4,500.00         6,000.00                          10,500.00
 54300 Rent or Lease                                                    54,525.91        60,165.54        82,352.58       106,523.62        303,567.65
 54310 Equipment Lease                                                   1,087.16                                                              1,087.16
 54400 Repair & Maintenance                                               355.00         10,067.95        16,630.04         7,480.00         34,532.99
 54500 Payroll                                        65,984.52        118,816.33                                                           184,800.85
  54510 Hourly                                       256,947.25        203,392.08       174,050.87       167,778.77       165,435.38        967,604.35
  54520 Salary                                       118,206.69        174,022.63       395,916.52       274,564.33       243,561.79       1,206,271.96
  54525 Shift Dif                                      3,396.72          2,770.72         2,654.63         2,486.51         2,644.93         13,953.51
  54530 Overtime                                       4,138.70          3,177.10         2,992.76         2,955.32         2,180.55         15,444.43
  54535 Bonus                                          -1,428.01         4,880.62         5,000.00                                             8,452.61
  54540 Car Allowance                                  2,000.00          5,500.00         8,000.00         4,500.00         5,800.00         25,800.00
  54560 Retro Pay                                                                                          1,282.07           641.03           1,923.10
 Total 54500 Payroll                             $ 449,245.87      $ 512,559.48     $ 588,614.78     $ 453,567.00     $ 420,263.68     $   2,424,250.81
 54750 Payroll Fees                                     3,115.95         3,476.03         2,523.51         2,322.11         2,287.87          13,725.47
 55000 Payroll Taxes                                                                                                                                 0.00
  55010 Payroll Taxes - FUTA                          35,129.93         38,360.63        42,453.41        32,362.61        30,345.27        178,651.85
  55015 SUTA                                          13,336.21          4,814.27         1,322.27           430.93           784.77          20,688.45
 Total 55000 Payroll Taxes                       $    48,466.14    $    43,174.90   $    43,775.68   $    32,793.54   $    31,130.04   $    199,340.30
 55500 Shipping and delivery expense                        0.00         9,031.19         3,886.47         1,188.35         7,564.71          21,670.72
 55650 Recruiting Expense                                                                                    898.00           449.00           1,347.00



                              23-43403-mlo     Doc 249        Filed 09/19/23            Entered 09/19/23 00:19:30               Page 78 of 79
Ark Laboratory Postpetition Financials
                                                    Apr 13-30,
                                                      2023            May 2023          Jun 2023          Jul 2023         Aug 2023            Total
 55800 Supplies                                      30,720.05        289,689.46        109,350.83        76,139.46        220,437.19         726,336.99
 56000 Telephone                                                        1,200.00          1,232.41         2,358.91          1,585.97           6,377.29
 56250 Travel                                                                             1,850.04         1,462.68           892.44            4,205.16
 56600 Utilities                                                        4,240.78          4,469.33                          10,608.94          19,319.05
 56700 Cleaning Service                                                  531.61                                                                   531.61
 59988 Waste Management                               1,300.00                            3,554.00           165.84          1,687.00           6,706.84
 69000 Unapplied Cash Bill Payment Expense                                  0.00              0.00             0.00                                    0.00
 99999 Expense Reports                                1,868.58          7,707.15         11,235.97        17,863.25                            38,674.95
Total Expenses                                 $ 803,833.39      $1,702,224.25     $1,121,191.54     $ 848,092.18     $1,140,114.24     $    5,615,455.60
Net Operating Income                           -$    72,903.45   -$ 193,083.00     -$ 139,223.78     -$ 210,620.57    -$ 475,795.35     -$ 1,091,626.15
Other Expenses
 54100 Depreciation                                  72,675.34         72,675.34         72,675.34        76,450.53         76,450.53         370,927.08
 57250 Miscellaneous                                                                                                             9.12                  9.12
Total Other Expenses                           $     72,675.34   $     72,675.34   $     72,675.34   $    76,450.53   $     76,459.65   $     370,936.20
Net Other Income                               -$    72,675.34   -$    72,675.34   -$    72,675.34   -$   76,450.53   -$    76,459.65   -$    370,936.20
Net Income                                     -$ 145,578.79     -$ 265,758.34     -$ 211,899.12     -$ 287,071.10    -$ 552,255.00     -$ 1,462,562.35




                          23-43403-mlo       Doc 249        Filed 09/19/23              Entered 09/19/23 00:19:30                Page 79 of 79
